     Case 1:24-cv-02095-BAH        Document 14   Filed 09/19/24   Page 1 of 56




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

ARDELYX, INC.,
400 Fifth Avenue, Suite 210
Waltham, MA 02451

AMERICAN ASSOCIATION OF KIDNEY
PATIENTS,
14440 Bruce B. Downs Boulevard
Tampa, FL 33613

NATIONAL MINORITY QUALITY FORUM,
1201 15th Street NW #340
Washington, DC 20005

              Plaintiffs,
     v.

XAVIER BECERRA,
Secretary of Health and Human Services
                                             Case No. 1:24-cv-02095-BAH
200 Independence Avenue, SW
Washington, DC 20201
                                             Oral Argument Requested
U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES,
200 Independence Avenue, SW
Washington, DC 20201

CHIQUITA BROOKS-LASURE, AND
Administrator of Centers for Medicare and
Medicaid Services
7500 Security Boulevard
Baltimore, MD 21244

CENTERS FOR MEDICARE AND
MEDICAID SERVICES,
7500 Security Boulevard
Baltimore, MD 21244,

              Defendants.


      PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION OR, IN THE
          ALTERNATIVE, FOR EXPEDITED SUMMARY JUDGMENT
       Case 1:24-cv-02095-BAH            Document 14        Filed 09/19/24      Page 2 of 56




       Pursuant to Fed. R. Civ. P. 56 and 65 and Local Rule 56.1 and 65.1, Plaintiffs Ardelyx,

Inc., American Association of Kidney Patients, and National Minority Quality Forum

(collectively, “Plaintiffs”), respectfully move to preliminarily enjoin Defendants Xavier Becerra,

Secretary of Health and Human Services, U.S. Department of Health and Human Services,

Chiquita Brooks-LaSure, Administrator of Centers for Medicare and Medicaid Services, and

Centers for Medicare and Medicaid Services (“CMS,” and collectively, “Defendants”), from

including oral-only drugs, including Plaintiff Ardelyx’s drug XPHOZAH, in the End Stage Renal

Disease Prospective Payment System (“ESRD PPS”) bundle.

       More specifically, Defendants have issued a regulation, at 42 C.F.R. § 413.171, that

purports to redefine the statutory term “renal dialysis services” in 42 U.S.C. § 1395rr(b)(14)(B) to

include oral-only drugs.    That regulation in § 413.171 is unlawful—both on its face and in its

application to Plaintiffs—because the regulation rewrites the statutory term “renal dialysis

services” to include oral-only drugs, contrary to the statute’s express text. Plaintiffs therefore seek

an order preliminarily enjoining Defendants from enforcing their regulation in 42 C.F.R. § 413.171

unlawfully including oral-only drugs within the regulatory definition a “renal dialysis service”;

from placing oral-only drugs into the ESRD PPS bundled payment system effective January 1,

2025 pursuant to 42 C.F.R. §§ 413.171, 413.174(f)(6); or from ceasing reimbursement for any

oral-only drug under Medicare Part D as of that date.

       Moreover, on May 13, 2024, CMS sent a letter-decision to Ardelyx, setting forth that

“CMS has identified XPHOZAH to be a renal dialysis service under 42 CFR 413.171.” Dkt. 1-1

(“XPHOZAH Decision”). CMS’s application of its contra-statutory and unlawful regulation in 42

C.F.R. § 413.171 to Ardelyx through the XPHOZAH Decision is also unlawful. Defendants seek

an order preliminarily enjoining Defendants from classifying XPHOZAH as a “renal dialysis
       Case 1:24-cv-02095-BAH           Document 14           Filed 09/19/24   Page 3 of 56




service” pursuant to the XPHOZAH Decision applying 42 C.F.R. § 413.171 and § 413.174(f)(6);

from placing XPHOZAH into the ESRD PPS bundled payment system effective January 1, 2025;

or from ceasing reimbursement for XPHOZAH under Medicare Part D as of January 1, 2025.

       As demonstrated in the accompanying Memorandum of Points and Authorities, Plaintiffs

are entitled to preliminary relief because the inclusion of oral-only drugs in the ESRD PPS bundle,

including XPHOZAH, violates the Administrative Procedure Act (“APA”) and will cause

Plaintiffs irreparable harm absent this preliminary relief.

       Alternatively, if the Court finds that the merits favor Plaintiffs but that the equities do not

favor preliminary relief, Plaintiffs respectfully request expedited summary judgment in their favor.

Specifically, Plaintiffs request the same injunctive relief specified above, on a permanent basis.

Plaintiffs further request that the Court vacate and set aside Defendants’ regulation in 42 C.F.R.

§§ 413.171, 413.174(f)(6), providing that oral-only drugs are a “renal dialysis service” subject to

inclusion in the ESRD PPS bundle rather than separate drugs covered under Medicare Part D. And

Plaintiffs further request that the Court vacate and set aside Defendants’ XPHOZAH Decision.

       This motion is accompanied by a Memorandum of Points and Authorities; the Declarations

of Laura Williams, Diana Clynes, and Gary Puckrein; and a proposed Order. Plaintiffs have

conferred with Defendants, who state that they oppose the issuance of a preliminary injunction.

Oral argument is requested on this motion because of the substantial importance of the issues and

the multiple legal arguments presented in this case.
     Case 1:24-cv-02095-BAH   Document 14    Filed 09/19/24      Page 4 of 56




Dated: September 19, 2024             Respectfully submitted,

                                      /s/ Michael E. Bern
                                      Michael E. Bern (DC Bar No. 994791)
                                      Delia Tasky (DC Bar No. 1724285)
                                      Alexander G. Siemers (DC Bar No.
                                      90006765)
                                      Latham & Watkins LLP
                                      555 Eleventh Street, NW, Suite 1000
                                      Washington, DC 20004
                                      Tel: (202) 637-2200
                                      Fax: (202) 637-2201
                                      Email: michael.bern@lw.com
                                               delia.tasky@lw.com
                                               alex.siemers@lw.com

                                      Nicholas L. Schlossman
                                      (DC Bar No. 1029362)
                                      Latham & Watkins LLP
                                      300 Colorado Street, Suite 2400
                                      Austin, TX 78701
                                      Tel: (737) 910-7300
                                      Fax: (737) 910-7301
                                      Email: nicholas.schlossman@lw.com

                                      Attorneys for Plaintiffs Ardelyx, Inc. and
                                      American Association of Kidney Patients

                                      James E. McCollum, Jr. (DC Bar. No.
                                      398117)
                                      Amit K. Sharma (D.C. Bar No. 503604)
                                      The McCollum Firm, LLC
                                      7309 Baltimore Avenue, Suite 117
                                      College Park, MD 20740
                                      Tel: (301) 537-0661
                                      Fax: (301) 864-4351
                                      Email: jmccollum@jmlaw.net
                                                asharma@jmlaw.net

                                      Attorneys for Plaintiff National Minority
                                      Quality Forum
     Case 1:24-cv-02095-BAH        Document 14   Filed 09/19/24   Page 5 of 56




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

ARDELYX, INC.,
400 Fifth Avenue, Suite 210
Waltham, MA 02451

AMERICAN ASSOCIATION OF KIDNEY
PATIENTS,
14440 Bruce B. Downs Boulevard
Tampa, FL 33613

NATIONAL MINORITY QUALITY FORUM,
1201 15th Street NW #340
Washington, DC 20005

              Plaintiffs,
     v.

XAVIER BECERRA,
Secretary of Health and Human Services
                                             Case No. 1:24-cv-02095-BAH
200 Independence Avenue, SW
Washington, DC 20201
                                             Oral Argument Requested
U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES,
200 Independence Avenue, SW
Washington, DC 20201

CHIQUITA BROOKS-LASURE, AND
Administrator of Centers for Medicare and
Medicaid Services
7500 Security Boulevard
Baltimore, MD 21244

CENTERS FOR MEDICARE AND
MEDICAID SERVICES,
7500 Security Boulevard
Baltimore, MD 21244,

              Defendants.


PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
    PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION OR, IN THE
        ALTERNATIVE, FOR EXPEDITED SUMMARY JUDGMENT
         Case 1:24-cv-02095-BAH                         Document 14                 Filed 09/19/24               Page 6 of 56




                                             TABLE OF CONTENTS

INTRODUCTION ...............................................................................................................1

BACKGROUND .................................................................................................................5
          A.         End Stage Renal Disease .............................................................................5
          B.         Medicare Coverage For End Stage Renal Disease ......................................7
          C.         The Creation Of The Modern ESRD PPS “Bundle” ...................................8
          D.         CMS Acts To Add Oral-Only Drugs Into The ESRD PPS Bundle ...........10
          E.         Congress Repeatedly Prevents CMS From Implementing The Inclusion Of
                     Oral-Only Drugs Into The ESRD PPS Bundle ..........................................14
          F.         Ardelyx’s XPHOZAH ...............................................................................15
          G.         CMS Plans To Add Oral-Only Drugs To The ESRD PPS Bundle,
                     Including XPHOZAH ................................................................................17

ARGUMENT .....................................................................................................................18

I.        DEFENDANTS’ PLACEMENT OF ORAL-ONLY DRUGS INTO THE ESRD
          PPS BUNDLE IS UNLAWFUL ............................................................................20
          A.         The Placement Of Oral-Only Drugs Into The ESRD PPS Bundle Conflicts
                     With The Statutory Definition Of “Renal Dialysis Services” ...................20
          B.         At Minimum, XPHOZAH Does Not Qualify As A Renal Dialysis
                     Service .......................................................................................................30
                     1.         XPHOZAH Is Not A Drug Furnished For The Treatment Of End
                                Stage Renal Disease .......................................................................30
                     2.         XPHOZAH Is Not Essential For The Treatment Of Maintenance
                                Dialysis ..........................................................................................35

II.       THE REMAINING EQUITABLE FACTORS WEIGH STRONGLY IN FAVOR
          OF INJUNCTIVE RELIEF....................................................................................37
          A.         Plaintiffs Will Suffer Irreparable Harm Absent Judicial Relief.................37
          B.         The Balance Of The Equities And The Public Interest Also Favor
                     Injunctive Relief.........................................................................................44

CONCLUSION ..................................................................................................................45
         Case 1:24-cv-02095-BAH                        Document 14               Filed 09/19/24             Page 7 of 56




                                             TABLE OF AUTHORITIES

                                                                                                                               Page(s)

                                                               CASES

Air Transp. Ass’n of Am., Inc. v. United States Dep’t of Agric.,
    37 F.4th 667 (D.C. Cir. 2022) ..................................................................................................27

Amgen Inc. v. Smith,
  357 F.3d 103 (D.C. Cir. 2004) .................................................................................................19

Archdiocese of Wash. v. Wash. Metro. Area Transit Auth.,
   897 F.3d 314 (D.C. Cir. 2018) .................................................................................................37

Ass’n of Cmty. Cancer Ctrs. v. Azar,
   509 F. Supp. 3d 482 (D. Md. 2020) .........................................................................................42

Bayer HealthCare, LLC v. FDA,
   942 F. Supp. 2d 17 (D.D.C. 2013) ...........................................................................................43

Bissonnette v. LePage Bakeries Park St., LLC,
    601 U.S. 246 (2024) .................................................................................................................29

Circuit City Stores, Inc. v. Adams,
   532 U.S. 105 (2001) .................................................................................................................29

Citrus HMA, LLC v. Becerra,
    597 F. Supp. 3d 450 (D.D.C. 2022) .........................................................................................21

Collagenex Pharms. v. Thompson,
   No. 03-cv-1405, 2003 WL 21697344 (D.D.C. July 22, 2003) ................................................44

Council for Urological Interests v. Burwell,
   790 F.3d 212 (D.C. Cir. 2015) .................................................................................................24

Ctr. for Biological Diversity v. U.S. Fish & Wildlife Serv.,
    67 F.4th 1027 (9th Cir. 2023) ..................................................................................................35

Encino Motorcars, LLC v. Navarro,
   579 U.S. 211 (2016) .................................................................................................................34

FCC v. Fox Television Stations, Inc.,
  556 U.S. 502 (2009) ...........................................................................................................33, 34




                                                                    ii
         Case 1:24-cv-02095-BAH                       Document 14               Filed 09/19/24              Page 8 of 56




Feinerman v. Berardi,
   558 F. Supp. 2d 36 (D.D.C. 2008) ...........................................................................................43

Fischer v. United States,
   144 S. Ct. 2176 (2024) .................................................................................................28, 29, 30

Gen. Motors Corp. v. Ruckelshaus,
   742 F.2d 1561 (D.C. Cir. 1984) ...............................................................................................26

Grange Mut. Cas. Co. v. Woodward,
   861 F.3d 1224 (11th Cir. 2017) ...............................................................................................35

Grayscale Invs., LLC v. SEC,
   82 F.4th 1239 (D.C. Cir. 2023) ................................................................................................34

Jennings v. Rodriguez,
   583 U.S. 281 (2018) .................................................................................................................27

Karem v. Trump,
   960 F.3d 656 (D.C. Cir. 2020) .................................................................................................44

League of Women Voters v. Newby,
   838 F.3d 1 (D.C. Cir. 2016) .....................................................................................................44

Lone Mountain Processing, Inc. v. Sec’y of Lab.,
   709 F.3d 1161 (D.C. Cir. 2013) ...............................................................................................33

Loper Bright Enterprises v. Raimondo,
   144 S. Ct. 2244 (2024) ...................................................................................................3, 21, 25

Luokung Tech. Corp. v. Dep't of Def.,
   538 F. Supp. 3d 174 (D.D.C. 2021) .........................................................................................43

Nat’l Env’t Dev. Ass’n’s Clean Air Project v. EPA,
   752 F.3d 999 (D.C. Cir. 2014) .................................................................................................35

Nken v. Holder,
   556 U.S. 418 (2009) .................................................................................................................44

Obduskey v. McCarthy & Holthus LLP,
   586 U.S. 466 (2019) .................................................................................................................27

Peri & Sons Farms, Inc. v. Acosta,
   374 F. Supp. 3d 63 (D.D.C. 2019) ...........................................................................................19

Scan Health Plan v. HHS,
   No. 1:23-cv-03910, 2024 WL 2815789 (D.D.C. June 3, 2024) ..............................................35




                                                                   iii
          Case 1:24-cv-02095-BAH                          Document 14                Filed 09/19/24               Page 9 of 56




Shawnee Tribe v. Mnuchin,
   984 F.3d 94 (D.C. Cir. 2021) ...................................................................................................44

Tex. Children’s Hosp. v. Burwell,
   76 F. Supp. 3d 224 (D.D.C. 2014) ...........................................................................................42

Utility Air Regul. Grp. v. EPA,
    573 U.S. 302 (2014) .................................................................................................................24

Westar Energy, Inc. v. FERC,
   473 F.3d 1239 (D.C. Cir. 2007) ...............................................................................................34

Wilson v. Grp. Hospitalization & Med. Servs., Inc.,
   791 F. Supp. 309 (D.D.C. 1992) ..............................................................................................42

Wint v. Yeutter,
   902 F.2d 76 (D.C. Cir. 1990) ...................................................................................................25

Winter v. Nat. Res. Def. Council, Inc.,
   555 U.S. 7 (2008) ...............................................................................................................18, 37

Wis. Cent. Ltd. v. United States,
   585 U.S. 274 (2018) .................................................................................................................21

                                                               STATUTES

42 U.S.C.
   § 1395.......................................................................................................................................43
   § 1395rr ............................................................................................................................ passim

                                                           REGULATIONS

42 C.F.R.
   § 400.202..................................................................................................................................35
   § 413.171.......................................................................................................................... passim
   § 413.174.......................................................................................................................... passim
   § 413.234..................................................................................................................................39
   § 413.237....................................................................................................................................9

                                             FEDERAL REGISTER NOTICES

74 Fed. Reg. 49,922 (2009) .............................................................................11, 12, 22, 23, 24, 26

75 Fed. Reg. 49,030 (2010) ................................................................................................... passim

80 Fed. Reg. 69,027 (2015) ...........................................................................................................14

88 Fed. Reg. 76,344 (2023) .............................................................................................................9



                                                                       iv
        Case 1:24-cv-02095-BAH                     Document 14              Filed 09/19/24            Page 10 of 56




88 Fed. Reg. 55,760 (2024) ...............................................................................................10, 18, 24




                                                                 v
      Case 1:24-cv-02095-BAH           Document 14       Filed 09/19/24      Page 11 of 56




                                       INTRODUCTION

       Approximately 550,000 people in the United States suffer from end stage renal disease

(“ESRD”), a life-threatening condition in which the kidneys can no longer function on their own.

ESRD patients must receive either a kidney transplant or regular dialysis treatment—through

which waste is removed from an individual’s blood—in order to survive. ESRD patients face

staggeringly high health risks from ESRD and its comorbidities and complications—20 to 50% of

patients on dialysis die within 24 months, and less than 50% survive more than five years. ESRD

also disproportionately affects low-income, minority, and rural populations.

       Because of demonstrable patient need and high coverage costs, Congress over 50 years ago

provided that ESRD patients shall receive federal Medicare coverage, regardless of age. In 2008,

Congress passed the Medicare Improvements for Patients and Providers Act (“MIPPA”), which,

among other things, created a bundled payment system for “renal dialysis services” under which a

single payment under Medicare Part B is made to dialysis facilities for certain items, drugs, and

tests in lieu of any other separate payment. 42 U.S.C. § 1395rr(b)(14)(A)-(B) (establishing the

ESRD Prospective Payment System bundle or “ESRD PPS bundle”). Under that system, dialysis

providers generally receive the same reimbursement per dialysis treatment irrespective of the

actual cost incurred to treat that patient, or the actual services provided. Over time, however, CMS

has set the bundled payment at an amount that barely covers the cost to dialysis facilities of

providing renal dialysis services and discourages dialysis facilities from promoting access to novel

therapies that would increase the long-term cost of care beyond that which CMS is willing to pay.

       This action challenges CMS’s decision under its regulation in 42 C.F.R. § 413.171 to, as

of January 1, 2025, cease payment under Medicare Part D for Ardelyx’s novel oral-only

phosphate-lowering therapy (“PLT”), XPHOZAH, and other oral-only drugs, in favor of including
      Case 1:24-cv-02095-BAH           Document 14         Filed 09/19/24      Page 12 of 56




those therapies within the ESRD PPS bundled payment system. As a wide cross-section of the

kidney-care community, including physicians, nurses, patients, dialysis providers, and drug

manufacturers have repeatedly warned, CMS’s plan to add oral-only drugs to a bundled payment

system that is already financially stretched will reduce access to life-saving drugs, harm patients,

and stifle innovation—all while imposing added costs on patients who can ill afford to bear it.

       CMS’s decision is not just bad policy, it is unlawful—contradicting Congress’s statutory

directives in violation of the Administrative Procedure Act. For multiple reasons, CMS’s decision

to place oral-only drugs, including XPHOZAH, into the ESRD PPS bundle is both contrary to law

and arbitrary and capricious. And because CMS’s decision will impose irreparable harm on the

patients whom Plaintiffs American Association of Kidney Patients and National Minority Quality

Forum (“NMQF”) represent and whom Ardelyx serves, as well as Ardelyx itself, this Court should

preliminarily enjoin Defendants from enforcing their regulation in 42 C.F.R. § 413.171, unlawfully

including oral-only drugs within the regulatory definition of a “renal dialysis service,” and from

placing oral-only drugs, including XPHOZAH, into the ESRD PPS bundled payment system

effective January 1, 2025, or alternatively grant expedited relief on the merits.

       To start, CMS’s plan to add XPHOZAH and other oral-only drugs to the bundle violates

the APA. Congress enacted MIPPA in order to promote the cost-efficient provision of renal

dialysis services by dialysis providers. But XPHOZAH, like other oral-only phosphate-lowering

therapies, is not administered during dialysis, nor by dialysis providers. It is no wonder, therefore,

that CMS’s plan to place such drugs into the ESRD PPS bundle is contrary to Congress’ operative

statute. At the time MIPPA was enacted, drugs or biologics furnished to patients by dialysis

facilities for the treatment of ESRD were generally administered intravenously or by injection

during dialysis treatments. Accordingly, Congress expressly defined the “renal dialysis services”




                                                  2
      Case 1:24-cv-02095-BAH           Document 14        Filed 09/19/24      Page 13 of 56




subject to the bundle to include orally administered drugs only when they were the “oral equivalent

form” of “drugs and biologicals furnished to individuals for the treatment of end stage renal

disease”—i.e., when the oral drug was equivalent to a drug or biological actually used by a dialysis

facility during dialysis. 42 U.S.C. § 1395rr(b)(14)(B)(iii). By its express terms, then, oral drugs

that are not the “oral equivalent form” of injectable drugs or biologics furnished to individuals for

ESRD treatment may not be included in the bundle. See id.

       Notwithstanding MIPPA’s plain text, and over the strong objections of numerous

commenters including Plaintiff NMQF, CMS decided to interpret Congress’s operative statute to

include all drugs and biologicals furnished to individuals for the treatment of ESRD, including

“drugs and biologicals with only an oral form.” 42 C.F.R. § 413.171(3) (emphasis added). Many

commenters warned that that regulation “represent[ed] a misreading of statutory intent,”

“violate[d] principles of statutory construction,” and would suppress access to and utilization of

oral-only drugs. 75 Fed. Reg. 49,030, 49,032, 49,038, 49,040 (2010). CMS disagreed with those

arguments as a matter of public policy. But CMS had no right to adopt an untenable reading of

the statute in order to further its policy goals. Because CMS’s decision to place oral-only drugs

into the bundle pursuant to 42 C.F.R. § 413.171 is incompatible with the “best reading” of the

statute, Loper Bright Enterprises v. Raimondo, 144 S. Ct. 2244, 2266 (2024), it should be rejected.

       XPHOZAH also does not qualify as a “renal dialysis service” for additional reasons. First,

XPHOZAH is not a drug furnished “for the treatment of end stage renal disease”—a necessary

requirement to be included in the ESRD PPS bundle under the statute and CMS’s parallel

regulation. 42 U.S.C. § 1395rr(b)(14)(B); 42 C.F.R. § 413.171. XPHOZAH is indicated to treat

hyperphosphatemia (excessive phosphorus in the body), not ESRD.              While XPHOZAH is

approved for use with patients with chronic kidney disease on dialysis, it is only approved for




                                                 3
      Case 1:24-cv-02095-BAH           Document 14         Filed 09/19/24      Page 14 of 56




lowering serum phosphorus by limiting the absorption of phosphorus into the bloodstream—it

does not treat end stage renal disease. Nor is CMS’s categorization of XPHOZAH and other oral-

only drugs consistent with CMS’s past guidance that whether a drug is “for the treatment of

[ESRD]” depends on whether it “would be expected to be utilized for ESRD-related conditions in

a dialysis unit (and therefore would be a renal dialysis service).” 75 Fed. Reg. at 49,036-47. Nor

does it match CMS’s treatment of other oral-only drugs that treat causes, complications, or

comorbidities of ESRD like hypertension and diabetes.

       Finally, XPHOZAH does not qualify as a “renal dialysis service” under CMS’s own

definition of that term. Under 42 C.F.R. § 413.171(5), “[r]enal dialysis services do not include

those services that are not essential for the delivery of maintenance dialysis.” XPHOZAH is not

even approved for use during dialysis, let alone essential to it. To the contrary, its label expressly

warns against usage right before the delivery of maintenance dialysis. As a result, XPHOZAH

does not qualify as a renal dialysis service under CMS’s own regulations. For all of these reasons,

CMS’s placement of XPHOZAH into the ESRD PPS bundle is unlawful.

       The other equitable factors strongly favor preliminary relief. Congress three times delayed

CMS from executing its decision to remove oral-only drugs from Medicare Part D and place them

into the bundled payment system. Absent court action, however, oral-only drugs will be removed

from Medicare Part D and redirected into the ESRD PPS bundle on January 1, 2025. The addition

of oral-only drugs like XPHOZAH into the bundle that are not part of dialysis and have never been

administered by dialysis providers will limit access to oral-only drugs, undermine health outcomes,

discourage innovation, and further stretch an already inadequate bundled payment system—

precisely the harms about which the kidney-care community has repeatedly warned. And those




                                                  4
      Case 1:24-cv-02095-BAH           Document 14        Filed 09/19/24      Page 15 of 56




harms will fall disproportionately on minority, low-income, and rural patients—who are

represented in outsized numbers among ESRD patients.

       For all of these reasons, this Court should preliminarily enjoin Defendants from enforcing

their regulations in 42 C.F.R. §§ 413.171, 413.174(f)(6) unlawfully including oral-only drugs

within the regulatory definition a “renal dialysis service”; from classifying XPHOZAH as a “renal

dialysis service” pursuant to § 413.171; from placing oral-only drugs, including XPHOZAH, into

the ESRD PPS bundled payment system pursuant to § 413.171 effective January 1, 2025; and from

ceasing reimbursement for any oral-only drug under Medicare Part D as of that date. Alternatively,

if the Court finds the equities do not favor preliminary relief, Plaintiffs respectfully request

expedited summary judgment in their favor, granting the same injunctive relief on a permanent

basis. In that regard, Plaintiffs further request that the Court vacate and set aside (1) Defendants’

regulations in 42 C.F.R. §§ 413.171, 413.174(f)(6) to the extent they provide that oral-only drugs

are “renal dialysis services” subject to inclusion in the ESRD PPS bundle and (2) Defendants’

XPHOZAH Decision. As set forth below, preliminary, or at least expedited, relief is urgently

warranted in these circumstances.1

                                        BACKGROUND
       A.      End Stage Renal Disease

       Approximately 550,000 people in the United States suffer from ESRD, a life-threatening

condition in which the kidneys can no longer function on their own. Compl. ¶ 4; Williams Decl.

¶ 4. ESRD is the final, permanent stage of chronic kidney disease, a condition in which the kidneys


1
   After filing this action, Plaintiffs sought several times to negotiate a schedule for expedited
cross-motions for summary judgment that would have made it unnecessary to seek a preliminary
injunction. Instead of agreeing to such a schedule, Defendants filed a motion to dismiss on
September 17, 2025. Because Defendants did not commit to a merits schedule that would permit
consideration of the issues presented before CMS’s plan takes effect on January 1, 2025, it became
necessary for Plaintiffs to file this motion for a preliminary injunction.

                                                 5
      Case 1:24-cv-02095-BAH           Document 14         Filed 09/19/24      Page 16 of 56




become progressively damaged over time and eventually lose the ability to function. Williams

Decl. ¶ 5. Because of the essential role the kidneys play in filtering waste products and toxins

from the body, ESRD will result in certain death if left untreated. Id. ¶ 6.

       Unless a patient suffering from ESRD is able to obtain a kidney transplant, he or she must

undergo routine dialysis treatment in order to survive.2 ESRD patients therefore typically undergo

dialysis—in which a machine manually filters waste and excess fluid in place of the kidneys—3

times a week for 3 to 5 hours each session, at a dialysis center which specializes in this treatment.3

Even with dialysis, ESRD patients experience frighteningly high mortality rates. 20 to 50% of

ESRD patients on dialysis die within 24 months of diagnosis, and a recent study of patients with

kidney failure showed a five-year survival rate of approximately 31% to 36%.4

       ESRD offers a particularly stark example of the racial, ethnic, and socioeconomic

disparities in American healthcare. Puckrein Decl. ¶ 7. African Americans are almost 4 times

more likely, and Hispanics or Latinos are 1.3 times more likely, to have ESRD than white

Americans. Id. ¶ 9. While African Americans make up 13.5% of the population, they represent

more than 35% of dialysis patients, and are more likely to die from ESRD than white patients.5 In

addition, low income and lack of health insurance are risk factors associated with a 50% or greater

risk of developing ESRD.6 ESRD is often caused by other underlying, uncontrolled health


2
   Williams Decl. ¶ 7; see also Johns Hopkins Med., End Stage Renal Disease,
https://www.hopkinsmedicine.org/health/conditions-and-diseases/end-stage-renal-failure
3
  Williams Decl. ¶ 8; see also Nat’l Kidney Found., About Dialysis for Kidney Failure,
https://www.kidney.org/patients/peers/dialysis
4
  Williams Decl. ¶ 9; see also Muhammad F. Hashmi et al., End-Stage Renal Disease (2023),
https://www.ncbi.nlm.nih.gov/books/NBK499861/.
5
   Puckrein Decl. ¶ 10; see also, e.g., Nat’l Kidney Found., Health Disparities,
https://www.kidney.org/advocacy/legislative-priorities/health-disparities
6
  Puckrein Decl. ¶ 12; Susanne B. Nicholas et al., Socioeconomic Disparities in Chronic Kidney
Disease (Jan 2015), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4291541/.


                                                  6
      Case 1:24-cv-02095-BAH           Document 14        Filed 09/19/24      Page 17 of 56




conditions, like high blood pressure and diabetes. Puckrein Decl. ¶ 12. As a result, underlying

disparities in healthcare treatment impacting minorities and low-income individuals exacerbate

disparities in who develops and dies from ESRD. See id. ¶ 11-13.

       B.      Medicare Coverage For End Stage Renal Disease

       The Social Security Amendments of 1972 first extended Medicare coverage to individuals

suffering from kidney disease who required dialysis or a kidney transplant, without regard to their

age or disability status. See An Act to Amend the Social Security Act, and for Other Purposes,

Pub. L. No. 92-603, 86 Stat. 1329 (1972); 42 U.S.C. § 426-1(a). Congress extended Medicare

eligibility to ESRD patients in response to growing numbers of dialysis patients and treatment

centers, as well as the high cost of life-saving dialysis treatment. Clynes Decl. ¶ 6.7

       Beginning in the 1980s, Medicare began paying for dialysis services using the “composite

rate” system, a blended prospective payment and fee-for-service system. Omnibus Budget

Reconciliation Act of 1981, Pub. L. No. 97-35, § 2145, 95 Stat. 357, 799-800 (1981). Under the

composite rate system, dialysis facilities received a single, prospectively determined payment

amount per treatment to cover costs including a defined set of regularly provided tests and supplies,

as well as a narrow set of injectable drugs associated with dialysis services. See id.

       In addition to the composite rate, dialysis facilities were separately reimbursed for each use

of injectable ESRD drugs with payments under Medicare Part B, which generally covers drugs

that patients would not administer themselves.8            For example, Epogen, an injectable


7
  See also Richard A. Rettig, Origins of the Medicare Kidney Disease Entitlement: The Social
Security Amendments of 1972, Biomedical Politics 176 (Kathy E. Hanna ed., 1991),
https://www.ncbi.nlm.nih.gov/books/NBK234191/.
8
  Williams Decl. ¶ 42; see U.S. Gov’t Accountability Off., (GAO-11-36), End-Stage Renal
Disease: CMS Should Assess Adequacy of Payment When Certain Oral Drugs are Included and
Ensure Availability of Quality Monitoring Data 2 n.6 (2011), https://www.gao.gov/assets/gao-11-
365.pdf.


                                                  7
        Case 1:24-cv-02095-BAH           Document 14       Filed 09/19/24    Page 18 of 56




Erythropoiesis-Stimulating Agent (“ESA”)9 that treats anemia in ESRD patients, was a separately

billable injectable drug for which dialysis facilities received reimbursement under Medicare Part

B outside of the composite rate. See U.S. Gov’t Accountability Off., (GAO-07-77), End-Stage

Renal Disease: Bundling Medicare’s Payment for Drugs with Payment for all ESRD Services

Would Promote Efficiency and Clinical Flexibility 1, 5 (2006), https://www.gao.gov/assets/gao-

07-77.pdf [hereinafter “GAO 2006 Report”]. Orally administered drugs, by contrast, are covered

separately under Medicare Part D, which offers prescription drug coverage for self-administered

drugs. 75 Fed. Reg. at 49,040 (referring to “oral equivalent forms of injectable drugs, which are

currently furnished by pharmacies under Part D”); Williams Decl. ¶ 42.

          C.     The Creation Of The Modern ESRD PPS “Bundle”

          In 2003, the Medicare Prescription Drug, Improvement, and Modernization Act of 2003

“required CMS to design a system that would no longer pay for each injectable ESRD drug under

a separate rate but would bundle payment for these drugs together with other ESRD items and

services under a single rate.” GAO 2006 Report 6. CMS, however, failed to meet benchmarks set

by Congress in relation to the development and testing of such a system. See id.

          In 2008, Congress took action itself by enacting MIPPA, codified today at 42 U.S.C.

§ 1395rr. MIPPA directs CMS to implement a bundled payment system for “renal dialysis

services” under which a single payment is made to dialysis facilities for certain items, drugs, and

tests, in lieu of any other separate payment for these materials. Id. § 1395rr(b)(14)(A)-(B). Under

the ESRD PPS bundle system, dialysis facilities receive—in general—the same amount per

dialysis treatment per patient,10 regardless of the specific individual costs incurred to treat that


9
    A drug that stimulates the production of red-blood cells.
10
     Pursuant to a combination of statutory and regulatory criteria, this base rate paid to a given



                                                   8
      Case 1:24-cv-02095-BAH           Document 14        Filed 09/19/24      Page 19 of 56




patient.11 Although dialysis facilities may be eligible for an “outlier payment” when they incur

unusually high costs for treating particular patients, those payments do not come close to fully

reimbursing dialysis facilities for that additional cost of care. See 42 C.F.R. § 413.237. In fact,

outlier payments represent less than 1% of total Medicare payments for ESRD patients. 88 Fed.

Reg. 76,344, 76,345-46 (Nov. 6, 2023).

       Congress’s expectation for the bundled payment was that it would lead dialysis facilities

to operate more efficiently because the provider would “retain the difference if Medicare’s

payment exceeds the costs they incur to provide the services.” GAO 2006 Report at 22. In

practice, however, CMS has come to set the bundled payment rate at an amount which barely

covers a dialysis facility’s cost of care. Compl. ¶ 9; Williams Decl. ¶ 66. In 2023, the Medicare

Payment Advisory Commission, a nonpartisan legislative-branch agency, even calculated that the

bundled payment and the rising cost of care resulted in dialysis facilities experiencing negative

margins when treating Medicare patients. Compl. ¶ 172; Clynes Decl. ¶ 19.12

       CMS also has been criticized for failing to “sufficiently reimburse for new, innovative

products.” Compl. ¶ 10.13 Following a short period in which CMS may temporarily provide

additional reimbursement to dialysis facilities in relation to their use of new drugs, CMS withdraws



facility may be adjusted to account for certain geographic differences in wages, whether the facility
serves a rural area, and other similar considerations. See 42 U.S.C. § 1395rr(b)(14)(D) (listing
payment adjustments); 42 C.F.R. § 413.20 (similar).
11
   Center for Medicare Services, End Stage Renal Disease (ESRD) Prospective Payment System
(PPS), available at https://www.cms.gov/medicare/payment/prospective-payment-systems/end-
stage-renal-disease-esrd.
12
  See also Medicare Payment Advisory Comm’n, 2023 Report to the Congress – Medicare
Payment       Policy,    at    194   (Mar.     2023),    https://www.medpac.gov/wp-
content/uploads/2023/03/Mar23_MedPAC_Report_To_Congress_v2_SEC.pdf.
13
  See Congressional Kidney and Health Care Innovation Caucuses, Letter to Chiquita Brooks-
LaSure (Oct. 2, 2023), https://kidneycarepartners.org/wp-content/uploads/2023/10/CY24-ESRD-
Innovation-Letter-Final.pdf.

                                                 9
      Case 1:24-cv-02095-BAH            Document 14        Filed 09/19/24      Page 20 of 56




that reimbursement in favor of small adjustments to the bundled rate—adjustments that need not

support the full cost to a dialysis facility of acquiring and administering that treatment.14 As a

consequence, dialysis facilities are disincentivized from adopting treatment approaches—and

novel drugs in particular—that would increase their cost of treatment beyond the bundled payment

amount. As Congressional leaders have recognized, this financial challenge causes dialysis

facilities to “hesitate to adopt new products” and diminishes patients’ long-term access to needed

medical care. Id. ¶ 10.15

       D.      CMS Acts To Add Oral-Only Drugs Into The ESRD PPS Bundle

       The ESRD PPS bundled “single payment is made . . . for renal dialysis services (as defined

in subparagraph (B)).” 42 U.S.C. § 1395rr(b)(14)(A). Congress defined the set of “renal dialysis

services” for which dialysis providers receive a bundled payment as follows:

       (B) For purposes of this paragraph, the term “renal dialysis services” includes—

               (i)    items and services included in the composite rate for renal
                      dialysis services as of December 31, 2010;

               (ii)   erythropoiesis stimulating agents and any oral form of such
                      agents that are furnished to individuals for the treatment of end
                      stage renal disease;

               (iii) other drugs and biologicals that are furnished to individuals
                     for the treatment of end stage renal disease and for which
                     payment was (before the application of this paragraph) made
                     separately under this subchapter, and any oral equivalent form
                     of such drug or biological; and



14
   See Compl. ¶¶ 9-10; 89 Fed. Reg. 55,760, 55,797 (July 5, 2024); Congressional Kidney and
Health Care Innovation Caucuses, Letter to Chiquita Brooks-LaSure (Oct. 2, 2023),
https://kidneycarepartners.org/wp-content/uploads/2023/10/CY24-ESRD-Innovation-Letter-
Final.pdf.
15
  See Congressional Kidney and Health Care Innovation Caucuses, Letter to Chiquita Brooks-
LaSure (Oct. 2, 2023), https://kidneycarepartners.org/wp-content/uploads/2023/10/CY24-ESRD-
Innovation-Letter-Final.pdf.

                                                  10
      Case 1:24-cv-02095-BAH           Document 14         Filed 09/19/24      Page 21 of 56




               (iv) diagnostic laboratory tests and other items and services not
                    described in clause (i) that are furnished to individuals for the
                    treatment of end stage renal disease.

42 U.S.C. § 1395rr(b)(14)(B).

       Under the statute’s express terms, orally-administered drugs qualify as “renal dialysis

services” only when they are (1) oral forms of ESAs under clause (ii); or (2) “oral equivalent

forms” of “other drugs and biologicals that are furnished to individuals for the treatment of

[ESRD]” under clause (iii). That accords with the fact that dialysis facilities have not historically

administered “oral-only” drugs to ESRD patients, let alone as part of dialysis. Williams Decl.

¶¶ 42, 45, 47-49. As a result, there would have been little need to account for the cost of such

drugs in the single bundled payment made to dialysis facilities for each dialysis treatment. See

id. And unless such oral-only drugs were equivalent to injectable drugs that would otherwise be

administered by dialysis facilities, inclusion of such drugs within the bundled payment would not

promote the efficient use of resources by dialysis facilities when providing renal dialysis services.

       In 2009, CMS issued a proposed rule to implement the bundled payment system created

by MIPPA beginning in 2011. 74 Fed. Reg. 49,922, 49,922 (Sept. 29, 2009). Despite the fact that

Congress only directed that a subset of orally administered drugs be included within the bundle,

CMS proposed to interpret 42 U.S.C. § 1395rr(b)(14)(B) so as not to limit the oral drugs qualifying

as “renal dialysis services” to the “oral form” of ESAs or the “oral equivalent form” of “other

drugs and biologicals that are furnished to individuals for the treatment of end stage renal disease.”

74 Fed. Reg. at 49,928. Instead, CMS proposed to include in the ESRD PPS all drugs and

biologicals furnished to individuals for ESRD treatment, including those with only an oral form.

       CMS justified the inclusion of oral-only drugs in the regulatory definition of “renal dialysis

services” in 42 C.F.R. § 413.171 on policy grounds. It reasoned that “the exclusion of oral drugs



                                                 11
      Case 1:24-cv-02095-BAH           Document 14        Filed 09/19/24      Page 22 of 56




. . . for which there is no injectable equivalent (or other non-oral form of administration) from the

ESRD PPS would defeat one of the very purposes of the new system—the inclusion of all renal

dialysis services furnished to ESRD patients in a comprehensive payment bundle to which a

reasonable payment amount can be attached empirically.” 74 Fed. Reg. at 49,928 (emphasis

added). CMS also rationalized that “the exclusion of oral drugs and biologicals for which there is

no injectable (or other non-oral) version does not make sense from a payment-policy perspective,”

as it could over time result in the growth of services excluded from its bundled payment. Id.

       CMS also sought to square its newly proposed regulation in § 413.171 with the statute. It

posited that 42 U.S.C. § 1395rr(b)(14)(B)(iii) defines “renal dialysis services” to include “other

drugs and biologicals … for which payment was (before the application of this [paragraph]) made

separately under this title and any oral equivalent form of such drug or biological.” Id. at 49,927-

28. CMS found the reference to “this title” to “requir[e] the inclusion in the ESRD PPS payment

bundle” of any drug that would have been payable under Medicare Part B and D, including oral-

only drugs. CMS acknowledged that “an alternative reading of the last part of clause (iii) with

respect to the phrase ‘and any oral equivalent form of such drug or biological’ could be interpreted

to limit the scope of the drugs and biologicals included in the bundle to only oral versions of

injectables (or other non-oral routes of administration).” Id. at 49,928 (emphasis added). CMS

rejected that reading, however, as “unduly constrained.” Id. Instead, it interpreted clause (iii) to

“include all drugs and biologicals” used to treat ESRD that would have been separately payable

under either Medicare Part B or Part D, “regardless of the route of administration.” Id. CMS

finally suggested that clause (iv), which addressed “other items and services not covered in clause

(i),” also provided “sufficient authority to include all drugs and biologicals, including oral-only

drugs and biologicals, used to treat ESRD in the ESRD PPS payment bundle.” Id.




                                                 12
      Case 1:24-cv-02095-BAH           Document 14       Filed 09/19/24      Page 23 of 56




       Most comments on the proposed regulation opposed the inclusion of oral-only drugs in the

bundle, and “many” focused on CMS’s improper expansion of the statutory definition to include

these oral-only drugs. See 75 Fed. Reg. at 49,038 (criticizing CMS reading as “a misreading of

statutory intent and violat[ing] principles of statutory construction”). In questioning CMS’s

proposal, various commentors also noted that the statute “focuses on payments to ESRD facilities,”

and argued “that the four categories of renal dialysis services specified in [§ 1395rr(b)(14)(B)]

only pertain to services furnished for which payment is made to ESRD facilities.” Id.

       Commentors also criticized CMS’s construction of clause (iv) to encompass any drugs for

the treatment of ESRD not included in clause (i), noting that such a construction “violates a

principle of statutory construction, by making clauses (ii) and (iii) otherwise redundant.” Id. at

49,039. CMS acknowledged that under its reading, “several of the clauses of the definition could

be viewed as superfluous.” Id. at 49,040. Although it acknowledged its overall reading of the

statute rendered parts of the definition of “renal dialysis services” “overlapping or redundant,” it

suggested that the statute should be read broadly to “wrap[] in all items and services related to

outpatient renal dialysis that are furnished to individuals for the treatment of ESRD.” Id.

       Many commenters expressed concern that CMS’s proposed regulation would undermine

the statute’s purpose and harm patients, explaining that because dialysis providers “would be liable

for the difference if costs exceeded Medicare payments,” adding oral-only drugs into the bundle

would result in “unintended clinical consequences for patients as ESRD facilities seek to maximize

profits by resorting to cheaper but less effective alternatives” to oral-only drugs. Id. at 49,032,

49,040. CMS admitted that including oral-only drugs in the bundle could indeed result in

“underutilization.” Id. at 49,041. CMS nonetheless implemented the ESRD PPS in the CY 2011

ESRD PPS final rule (75 Fed. Reg. 49,030) and adopted its own regulatory definition of “renal




                                                13
      Case 1:24-cv-02095-BAH           Document 14        Filed 09/19/24       Page 24 of 56




dialysis services” at 42 C.F.R. § 413.171. But, perhaps recognizing its rule could engender a

radical impact on dialysis facilities and patients, CMS decided to delay the inclusion of oral-only

drugs in the ESRD PPS bundle until 2014, pending an evaluation of the “potential impact on

dialysis facilities, particularly small dialysis facilities” which would “assess potential problems

which may arise in connection with the provision of oral drugs.” Id. at 49,043-44.

       E.      Congress Repeatedly Prevents CMS From Implementing The Inclusion Of
               Oral-Only Drugs Into The ESRD PPS Bundle

       Congress has repeatedly delayed CMS’s plan to place oral-only drugs into the bundled

payment system. In 2012, Congress prevented CMS from including oral-only drugs in the ESRD

PPS bundle until January 1, 2016. See American Taxpayer Relief Act of 2012, Pub. L. No. 112-

240, § 632(b), 126 Stat. 2313 (2012). In 2014, Congress again delayed the implementation of the

oral-only drug inclusion in the Protecting Access to Medicare Act of 2014 (PAMA), preventing

CMS from including oral-only drugs until 2024. Pub. L. No. 113-93 § 217(a)(1), 128 Stat. 1040,

1061 (2014). Later that same year, Congress delayed the implementation until 2025. Achieving

a Better Life Experience Act of 2014, Pub. L. No. 113-295, § 401, 128 Stat. 4010, 4056 (2014).

       In response to this legislation, CMS updated its regulations to state that “[e]ffective January

1, 2025, payment to an ESRD facility for renal dialysis service drugs and biologicals with only an

oral form furnished to ESRD patients is incorporated within the prospective payment system rates

established by CMS . . . and separate payment will no longer be provided.”                42 C.F.R.

§ 413.174(f)(6); see also 80 Fed. Reg. 68,968, 69,027-28 (Nov. 6, 2015) (finalizing this language).

       Therefore, despite CMS’s initial 2011 rulemaking and promulgation of 42 C.F.R.

§ 413.171, stakeholders have not had to contend with the potential impact of CMS’s regulation

until very recently, as the 2025 deadline approached and CMS began to take action to apply its

regulations and place oral-only drugs into the bundled payment system, as detailed below.



                                                 14
      Case 1:24-cv-02095-BAH           Document 14        Filed 09/19/24      Page 25 of 56




       F.      Ardelyx’s XPHOZAH

       Many ESRD patients suffer from a variety of comorbidities, including hypertension,

diabetes, cardiovascular disease (“CVD”), and hyperphosphatemia—the condition of having too

much phosphate in the body. Williams Decl. ¶¶ 12-14, 18. Hyperphosphatemia is associated with

a higher risk of cardiovascular mortality, and it can also lead to the progression of bone disorders.

Id. ¶ 19. Managing phosphate levels is therefore important for patients with hyperphosphatemia.16

       Approximately 80% of ESRD patients on maintenance dialysis have hyperphosphatemia.

Williams Decl. ¶ 18. A substantial number of ESRD patients do not have hyperphosphatemia,

however. Id. And some patients have hyperphosphatemia, but not ESRD. Indeed, one study

found hyperphosphatemia in roughly one out of eight patients admitted to a hospital—excluding

patients with ESRD.17 In this way, hyperphosphatemia is much like hypertension and diabetes:

Many patients with ESRD also have these conditions; some patients with ESRD do not have these

conditions; and some patients without ESRD do have these conditions. See id. ¶ 13.

       Nephrologists generally manage hyperphosphatemia by prescribing a range of phosphate

lowering therapies. As first-line therapies, many patients are prescribed phosphate binders, which

lower phosphate levels in the body by binding to excess phosphate molecules in the gastrointestinal

tract and preventing them from reaching the bloodstream. Id. ¶ 22. But not all patients have an

adequate response to phosphate binders alone, meaning their blood phosphate levels are still too



16
  Id. ¶ 20; see also, e.g., Dominik G. Haider et al., Hyperphosphatemia is an Independent Risk
Factor for Morality in Critically Ill Patients: Results from a Cross-Sectional Study, 10 PLOS ONE
(Aug. 7, 2015), https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0133426.
17
   Charat Thongprayoon, et al., Admission hyperphosphatemia increases the risk of acute kidney
injury in hospitalized patients, 2 J. Nephrology 241-47 (Apr. 31, 2018),
https://pubmed.ncbi.nlm.nih.gov/28975589/; see also Merck Manual, Hyperphosphatemia,
https://www.merckmanuals.com/professional/endocrine-and-metabolic-disorders/electrolyte-
disorders/hyperphosphatemia (noting causes other than ESRD).


                                                 15
      Case 1:24-cv-02095-BAH           Document 14       Filed 09/19/24      Page 26 of 56




high even with treatment. Id. ¶ 24. Indeed, approximately 70% of ESRD patients are unable to

maintain target phosphate levels despite treatment with phosphate binders.18

       Enter XPHOZAH, a novel therapy developed by Ardelyx that reduces serum phosphorus

levels. XPHOZAH first became available to patients in October 2023 following approval by the

FDA. Williams Decl. ¶ 28. XPHOZAH is a first-in-class phosphate absorption inhibitor. Unlike

phosphate binders, which bind to phosphate, XPHOZAH blocks phosphate absorption at the

primary cellular pathway. Williams Decl. ¶ 30. XPHOZAH provides the first new mechanism of

action to reduce phosphate in over five decades. Id. XPHOZAH is “indicated to reduce serum

phosphorus in adults with chronic kidney disease (CKD) on dialysis as add-on therapy in patients

who have an inadequate response to phosphate binders or who are intolerant of any dose of

phosphate binder therapy.”19 It is therefore indicated to treat patients for whom phosphate binders

have proven insufficient or are otherwise not a treatment option. Ex. 1, XPHOZAH Label at 1.

       XPHOZAH is not distributed or administered by dialysis facilities, nor is it taken during

dialysis. Williams Decl. ¶ 39. Instead, like other phosphate-lowering therapies, XPHOZAH is

prescribed by nephrologists and distributed through pharmacy providers. Id. While dialysis is

typically performed three times a week, XPHOZAH is taken twice daily, just prior to the first and

last meals of the day. Id. ¶ 37. Like all other current phosphate-lowering therapies, XPHOZAH

must be orally ingested to achieve its therapeutic effect, which targets the gastrointestinal tract.

Id. ¶ 33; Ex. 2 at 16. XPHOZAH is not administered as part of the delivery of maintenance



18
  Id. ¶ 25; Pablo E. Pergola, Phosphate Frustration: Treatment Options to Complement Current
Therapies,         Int’l        J.        Nephrology          (Aug.         22,       2022),
www.ncbi.nlm.nih.gov/pmc/articles/PMC9424003/.
19
     Ex. 1, U.S. Food & Drug Admin., XPHOZAH Label 2                                 (Oct.     2023),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2023/213931s000lbl.pdf;                 Ardelyx,
XPHOZAH, http://xphozah-hcp.com/


                                                16
      Case 1:24-cv-02095-BAH           Document 14         Filed 09/19/24      Page 27 of 56




dialysis. Williams Decl. ¶¶ 36-39.20 In fact, XPHOZAH’s label makes clear “[p]atients should be

counseled not to take XPHOZAH right before a hemodialysis session.” Williams Decl. ¶ 37.

XPHOZAH is currently covered under Medicare Part D, like other self-administered drugs. Id.

¶ 54; Ex. 8 (XPHOZAH Decision) at 1-2; Ex. 3 (Comment to ESRD PPS Proposed Rule) at 3-4.

       G.      CMS Plans To Add Oral-Only Drugs To The ESRD PPS Bundle, Including
               XPHOZAH

       On April 29, 2024, CMS issued guidance entitled “Including Oral-Only Drugs in the ESRD

PPS Bundled Payment,” with an effective date and implementation date of January 1, 2025. Ex.

7. CMS explained that “[u]nder 42 C.F.R. § 413.174(f)(6), effective January 1, 2025, payment to

an ESRD facility for renal dialysis service drugs and biologicals with only an oral form furnished

to ESRD patients is incorporated within the prospective payment system rates established by CMS

in § 413.230 and separate payment will no longer be provided.” Id. at 1.

       Additionally, on May 13, 2024, CMS sent a letter to Laura Williams, M.D., Chief Medical

Officer of Ardelyx. Ex. 8 (XPHOZAH Decision). In its XPHOZAH Decision, CMS set forth that

“CMS has identified XPHOZAH to be a renal dialysis service under 42 CFR 413.171, because it

is furnished to individuals to treat a condition associated with ESRD and is essential to the delivery

of maintenance dialysis. Specifically, it is used as an add-on therapy in patients with chronic

kidney disease who are on dialysis who have an inadequate response to phosphate binders or who

are intolerant of any dose of phosphate binder therapy.” Id. at 1. CMS also explained that

“beginning January 1, 2025, all renal dialysis services, including oral-only drugs, will be

incorporated into the ESRD PPS, and no separate payment under Medicare Part D will be made




20
  XPHOZAH is also not taken during dialysis because its side effects could lead to dehydration
and low sodium levels, which are dangerous during a dialysis session. See Ex. 1, XPHOZAH
Label at 2.


                                                 17
      Case 1:24-cv-02095-BAH            Document 14        Filed 09/19/24       Page 28 of 56




for any oral-only renal dialysis drugs. This will include XPHOZAH.” Id.

       CMS reiterated that it would begin to apply its regulations to oral-only drugs effective

January 1, 2025, in a further Notice issued July 5, 2024. 89 Fed. Reg. 55,760, 55,796-97 (2024).

       On July 17, 2024, Plaintiffs filed their Complaint, asserting that CMS’s regulations, which

purport to dictate that oral-only drugs are to be included in the ESRD PPS bundle, as well as

CMS’s XPHOZAH Decision itself, are contrary to law and arbitrary and capricious. ECF No. 1.

                                           ARGUMENT

       The factors for evaluating motions for preliminary injunction weigh strongly in favor of

Plaintiffs’ motion. In particular, (1) Plaintiffs are “likely to succeed on the merits,” (2) Plaintiffs

are “likely to suffer irreparable harm in the absence of preliminary relief,” (3) “the balance of

equities tips in [their] favor,” and (4) “an injunction is in the public interest.” Winter v. Nat. Res.

Def. Council, Inc., 555 U.S. 7, 20 (2008).          Accordingly, preliminary relief is warranted.

Alternatively, because there is no genuine dispute of material fact and Plaintiffs are entitled to

judgment as a matter of law, expedited summary judgment is merited. See Fed. R. Civ. P. 56.

       Defendants’ challenged regulation at 42 C.F.R. § 413.171 and the XPHOZAH Decision

applying that regulation are unlawful. In creating a bundled payment scheme to promote the

efficient delivery of “renal dialysis services” by dialysis providers, Congress adopted a definition

of “renal dialysis services” that excluded oral-only therapies—which were not delivered by

dialysis providers during dialysis. CMS’s determination to treat oral-only drugs, including

XPHOZAH, as “renal dialysis services” pursuant to its regulations is therefore contrary to law.

       CMS’s XPHOZAH Decision independently violates the APA for two additional reasons.

To qualify as a “renal dialysis service” eligible for the ESRD PPS bundle under the operative

regulations, a drug must be “a treatment for end stage renal disease” and “essential for the delivery




                                                  18
      Case 1:24-cv-02095-BAH            Document 14        Filed 09/19/24      Page 29 of 56




of maintenance dialysis.” 42 C.F.R. § 413.171. XPHOZAH is neither. XPHOZAH reduces

absorption of phosphorus into the bloodstream; it does not treat end stage renal disease. And it is

not even indicated for use during maintenance dialysis; it certainly is not essential to its delivery.

       The other factors likewise favor preliminary or at least expedited relief. A broad cross-

section of kidney-care stakeholders has warned that the movement of oral-only therapies, like

XPHOZAH, into the ESRD PPS bundle will frustrate utilization, discourage innovation, and harm

patients in the short and long term. Plaintiffs will face immediate and irreparable harm beginning

January 1, 2025 absent court action, while complying with governing law will not harm

Defendants. The equitable factors therefore likewise weigh in Plaintiffs’ favor.

       Because the issues here are legal in nature, Plaintiffs request consolidation of preliminary

relief with an ultimate determination on the merits under Fed. R. Civ. P. 65(a)(2). See, e.g., Peri

& Sons Farms, Inc. v. Acosta, 374 F. Supp. 3d 63, 70 (D.D.C. 2019). In the alternative, if the

Court agrees with Plaintiffs on the merits but disagrees that the equitable factors weigh in their

favor, Plaintiffs respectfully request this Court grant expedited summary judgment in their favor.21


21
  On September 17, 2024, Defendants filed a motion to dismiss the Complaint on the sole ground
that this Court purportedly lacks jurisdiction. Defendants are wrong. Relying on 42 U.S.C.
§ 1395rr(b)(14)(G), which precludes judicial review of “the identification of renal dialysis services
included in the bundled payment,” Defendants argue that this Court lacks jurisdiction to consider
“CMS[‘s] recent[] identifi[cation of] the drug XPHOZAH as a ‘renal dialysis service.’” Dkt. 11-
1 at 2. To begin with, 42 U.S.C. § 1395rr(b)(14)(G) addresses only the identification of particular
renal dialysis services included in the bundled payment. It does not preclude a challenge—such
as Plaintiffs make in part here—to CMS’s promulgation of a regulation expanding the definition
of “renal dialysis services” beyond that which Congress authorized. As the D.C. Circuit has made
clear, moreover, provisions like § 1395rr(b)(14)(G) will “prevent review only of those
[determinations] that the Medicare Act authorizes the Secretary to make; in other words, the
preclusion on review of [determinations] extends no further than the Secretary’s statutory authority
to make them.” Amgen Inc. v. Smith, 357 F.3d 103, 112 (D.C. Cir. 2004). Because Defendants
lack statutory authority to designate oral-only drugs as renal dialysis services, § 1395rr(b)(14)(G)
does not strip this court of authority to consider Plaintiffs’ challenge to Defendants’ contrary
regulation. Even with respect to Plaintiffs’ challenge to Defendants’ XPHOZAH Decision in



                                                 19
      Case 1:24-cv-02095-BAH            Document 14         Filed 09/19/24      Page 30 of 56




I.     DEFENDANTS’ PLACEMENT OF ORAL-ONLY DRUGS INTO THE ESRD PPS
       BUNDLE IS UNLAWFUL

       In enacting MIPPA, Congress directed CMS to make a single bundled payment to dialysis

providers for the provision of “renal dialysis services.” 42 U.S.C. § 1395rr(b)(14)(A). In so doing,

Congress sought to promote efficiency in the provision of renal dialysis services by dialysis

providers. Accordingly, Congress defined “renal dialysis services” to reach defined categories of

services administered by dialysis providers in the course of providing dialysis. And CMS itself

interpreted Congress’s directive to exclude services “that are not essential for the delivery of

maintenance dialysis.” 42 C.F.R. § 413.171(5).

       Notwithstanding the above, CMS has decided to now treat as “renal dialysis services” oral-

only drugs—like XPHOZAH—that are not administered by dialysis providers, nor even provided

in the course of renal dialysis, let alone essential for the delivery of maintenance dialysis. CMS’s

action conflicts with the operative statute and its own regulations, and is entirely unlawful.

       A.      The Placement Of Oral-Only Drugs Into The ESRD PPS Bundle Conflicts
               With The Statutory Definition Of “Renal Dialysis Services”

       Pursuant to MIPPA, Congress defined “renal dialysis services” to include four categories

of services provided by dialysis facilities in the course of providing dialysis.            42 U.S.C.

§ 1395rr(b)(14)(B). In so doing, Congress provided that only two categories of oral drugs be

included within the bundled payment: the “oral form” of an erythropoiesis stimulating agent, and

the “oral equivalent form” of a “drug[] or biological[] . . . furnished to individuals for the treatment

of end stage renal disease.” Id. at 1395rr(b)(14)(B)(ii)-(iii). Because an oral-only drug falls within




particular, however, infra at 31-37, § 1395rr(b)(14)(G) is inapplicable to Plaintiffs’ specific
challenges. Plaintiffs will respond to Defendants’ jurisdictional argument in more detail in their
forthcoming opposition to Defendants’ motion to dismiss, as well as in reply to Defendants’
opposition to this motion, should they raise their jurisdictional argument in response to this motion.

                                                  20
      Case 1:24-cv-02095-BAH            Document 14        Filed 09/19/24       Page 31 of 56




neither category, CMS’s inclusion of such drugs within the bundle pursuant to its regulation in 42

C.F.R. § 413.171 is contrary to law and in excess of statutory authority. 5 U.S.C. § 706.

       It is a “familiar canon of statutory construction that the starting point for interpreting a

statute is the language of the statute itself.” Citrus HMA, LLC v. Becerra, 597 F. Supp. 3d 450,

459 (D.D.C. 2022); see also Wis. Cent. Ltd. v. United States, 585 U.S. 274, 284 (2018) (“[[W]ords

generally should be interpreted as taking their ordinary, contemporary, common meaning . . . .”).

As the Supreme Court recently clarified in overruling Chevron, courts are obligated to exercise

their independent judgment in determining the “best reading” of the statute, i.e., the “reading the

court would have reached if no agency were involved.” Loper Bright Enters. v. Raimondo, 144 S.

Ct. 2244, 2266 (2024). At base, a court must exercise “independent judgment in deciding whether

an agency has acted within its statutory authority.” Id. at 2273.

       Here, the statutory provision establishing the ESRD PPS bundle generally provides that

the bundled payment is made “to a provider of services or a renal dialysis facility for renal dialysis

services (as defined in subparagraph (B)).” 42 U.S.C. § 1395rr(b)(14)(A) (emphasis added).

Congress’s definition of “renal dialysis services” consists of four subparts:

               (i)    items and services included in the composite rate for renal
                      dialysis services as of December 31, 2010;

               (ii)   erythropoiesis stimulating agents and any oral form of such
                      agents that are furnished to individuals for the treatment of end
                      stage renal disease;

               (iii) other drugs and biologicals that are furnished to individuals
                     for the treatment of end stage renal disease and for which
                     payment was (before the application of this paragraph) made
                     separately under this subchapter, and any oral equivalent form
                     of such drug or biological; and

               (iv) diagnostic laboratory tests and other items and services not
                    described in clause (i) that are furnished to individuals for the
                    treatment of end stage renal disease.



                                                  21
      Case 1:24-cv-02095-BAH           Document 14        Filed 09/19/24      Page 32 of 56




42 U.S.C. § 1395rr(b)(14)(B). Oral-only drugs come within none of these subparts.

       Clauses (i) and (ii). It is undisputed that neither oral-only drugs in general, nor XPHOZAH

in particular, fall within the scope of clause (i) or (ii): CMS has never argued otherwise. See 74

Fed. Reg. at 49,922; 75 Fed. Reg. at 49,030. Clause (i) is limited to “items and services” already

included in the “composite rate for renal dialysis services,” as of December 31, 2010. Id. at 49,036.

As of December 31, 2010, there were no-oral-only drugs included in the composite rate for renal

dialysis services, nor did dialysis facilities administer such drugs. Supra at 7-14. XPHOZAH, of

course, also was not approved by the FDA until over a decade later, in 2023. Williams Decl.

¶ 28.22 Likewise, clause (ii) is limited to “erythropoiesis stimulating agents” (drugs that stimulate

the production of red-blood cells) and “any oral form of such agents,” thereby excluding

XPHOZAH and other oral-only drugs that are not ESAs. See 75 Fed. Reg. at 49,036.

       Clause (iii). In proposing to incorporate oral-only drugs into the ESRD bundle under 42

C.F.R. § 413.171, CMS principally relied on clause (iii), which encompasses “other drugs and

biologicals that are furnished to individuals for the treatment of end stage renal disease and for

which payment was (before the application of this [paragraph]) made separately under this title”—

i.e., outside the composite rate system—“and any oral equivalent form of such drug or biological.”

Despite that nuanced definition, CMS interpreted this provision “to include all drugs and

biologicals formerly payable under either Medicare Part B or Part D used to treat ESRD, regardless

of the route of administration.” 74 Fed. Reg. at 49,927-28 (emphasis added); 75 Fed. Reg. at

49,038 (same). CMS thus redefined “renal dialysis services” to include “drugs . . . with only an


22
  See also Ex. 3 (Ardelyx Comment to CY 2024 ESRD PPS Proposed Rule (Aug. 21, 2023)); see
also Ardelyx Press Release, FDA Approves XPHOZAH® (tenapanor), a First-in-Class Phosphate
Absorption Inhibitor (Oct. 17, 2023), https://ir.ardelyx.com/news-releases/news-release-
details/fda-approves-xphozahr-tenapanor-first-class-phosphate-absorption (stating FDA approved
XPHOZAH in October 2023).


                                                 22
      Case 1:24-cv-02095-BAH            Document 14        Filed 09/19/24      Page 33 of 56




oral form,” 42 C.F.R. § 413.171(3), and applied that new regulation in the XPHOZAH Decision,

Ex. 8 at 1 (“CMS has identified XPHOZAH to be a renal dialysis service under 42 CFR 413.171”).

       All of that is untenable. By its express terms, clause (iii) does not define “renal dialysis

services” to include all drugs. Rather, it includes only a particular subset of drugs: “other drugs”

furnished “for the treatment of end stage renal disease”—i.e., “other” drugs not included in clauses

(i) or (ii)—for which payment was made separately under this title, as well as “any oral equivalent

form of such drug or biological.” 42 U.S.C. § 1395rr(b)(14)(B)(iii) (emphasis added). Clause (iii)

thus reaches only “oral” drugs that are the “equivalent” of “other drugs and biologicals that are

furnished to individuals for the treatment of end stage renal disease” and for which payment had

been made by Medicare under a separate Medicare provision (like Medicare Part B). Id.

       That text accords with MIPPA’s purpose. MIPPA was designed to promote cost-effective

provision of renal dialysis services. When MIPPA was enacted, however, drugs and biologics

furnished to patients by dialysis facilities for the treatment of ESRD were generally administered

intravenously or by injection during dialysis, not orally. Supra at 7-8, 10-11. The inclusion of

oral-only drugs would have done little, therefore, to advance Congress’s goals of deterring dialysis

facilities from overusing then-profitable, separately billable drugs or promoting operational

efficiency at such facilities. See 75 Fed. Reg. at 49,032 (ESRD bundle was intended to “reduc[e]

incentives to overuse profitable separately billable drugs” and promote “operational efficiency”).

So it would have made little sense to define “renal dialysis services” to encompass oral-only drugs

neither provided by dialysis facilities, nor administered as part of renal dialysis services.23




23
   By contrast, extending the bundled payment to encompass the “oral equivalent form” of an
injectable drug or biological administered by a dialysis facility during renal dialysis serves
MIPPA’s purpose by facilitating the use of generally less expensive oral equivalents to drugs that
a dialysis facility would otherwise administer during dialysis.


                                                  23
      Case 1:24-cv-02095-BAH           Document 14         Filed 09/19/24      Page 34 of 56




       CMS itself recognized that “an alternative reading of the last part of clause (iii) with respect

to the phrase ‘and any oral equivalent form of such drug or biological’ could be interpreted to limit

the scope of the drugs and biologicals included in the bundle to only oral versions of injectables.”

74 Fed. Reg. at 49,928 (emphasis added). CMS disagreed with that outcome as a matter of policy.24

Id. It therefore dismissed that construction as “unduly constrained.” Id. But in implementing the

statute, CMS was not free to “rewrite clear statutory terms to suit its own sense of how the statute

should operate.” Utility Air Regul. Grp. v. EPA, 573 U.S. 302, 328 (2014); see also Council for

Urological Interests v. Burwell, 790 F.3d 212, 228 (D.C. Cir. 2015) (“An agency crosses an

impermissible line when it moves from interpreting a statute to rewriting it.”).

       That is exactly what CMS did. 42 U.S.C. § 1395rr(b)(14)(B)(iii) defines “renal dialysis

services” to include “other drugs and biologicals . . . for the treatment of end stage renal disease

. . . and any oral equivalent form of such drug or biological.” But CMS altered that language when

interpreting that provision in 42 C.F.R. § 413.171, effectively removing the struck through

language below from the statute and replacing it with the bolded regulatory text.

               (3) Other drugs and biologicals that are furnished to individuals for
               the treatment of ESRD and for which payment was (prior to January
               1, 2011) made separately under Title XVIII of the Act (and any oral
               equivalent form of such drug or biological including drugs and
               biologicals with only an oral form) . . .

See 42 C.F.R. § 413.171. In effect, CMS rewrote clause (iii) of the statute to cover “all other drugs




24
   Ironically, CMS’s policy concerns were backwards. Numerous stakeholders, from patient
groups to physicians to drug manufacturers to dialysis providers, have repeatedly warned CMS
that the inclusion of oral-only drugs into the bundle is bad policy that will undermine health
outcomes and harm patients. Clynes Decl. ¶ 35; Puckrein Decl. ¶ 38; Williams Decl. ¶¶ 77-78.
Not only that, placing oral-only drugs into the bundle will increase the cost to patients who are ill-
suited to pay it; indeed, CMS itself admits that placing oral phosphate binders into the bundle alone
will impose $130 million in additional costs on ESRD patients who are disproportionately low
income and unemployed. See 89 Fed. Reg. 55,760, 55,827 (July 5, 2024).

                                                 24
        Case 1:24-cv-02095-BAH           Document 14        Filed 09/19/24       Page 35 of 56




and biologicals” that treat ESRD and would otherwise have been paid for outside the composite

rate system. Had Congress intended clause (iii) to cover “all drugs and biologicals that treat

ESRD,” it could easily have said so, using far fewer and simpler words. See Wint v. Yeutter, 902

F.2d 76, 82 (D.C. Cir. 1990) (agency properly eschewed “all-inclusive definition” because

“Congress could have said simply ‘all plaints’ if Congress had indeed meant just that”). It did not.

It should be unsurprising, therefore, that “many comment[er]s” criticized CMS’s interpretation of

clause (iii) as “a misreading of statutory intent” that “violates principles of statutory construction.”

75 Fed. Reg. at 49,038. Fundamentally, the “best reading” of clause (iii) excludes oral-only drugs,

Loper Bright, 144 S. Ct. at 2266.25 CMS’s contrary regulatory construction should be rejected.

         Notably, Congress expressly considered and rejected legislation that would have amended

clause (iii) to expand the definition of “renal dialysis services” to include oral-only drugs. One

year after the enactment of MIPPA, the House of Representatives introduced a bill that would have

amended clause (iii) to read as follows (italicized text would have been added):

     (iii) Other drugs and biologicals that are furnished to individuals for the treatment of
           end stage renal disease and for which payment was (before the application of this
           paragraph) made separately under this title, and any oral equivalent form of such
           drug or biological including oral drugs that are not the oral equivalent of an
           intravenous drug (such as oral phosphate binders and calcimimetics).




25
   CMS’s regulatory interpretation would negate Congress’s decision to carefully prescribe the
types of drugs that fall within its definition of “renal dialysis services.” Interpreting clause (iii) to
exclude oral-only drugs accords with Congress’s choice in clause (ii) to specifically instruct that
ESAs, and any oral form of such agents, are encompassed within the definition of renal dialysis
services. Had Congress intended for all injectable and oral treatments provided to ESRD patients
to fall within the scope of “renal dialysis services,” there would have been no need to specify that
renal dialysis services extend to “erythropoiesis stimulating agents and any oral form of such
agents.” 42 U.S.C. § 1395rr(b)(14)(B)(iii). To give effect to Congress’s decision to separately
identify ESAs and other drugs and biologicals, and then to specifically include only oral equivalent
forms of such agents, drugs, or biologicals, the statute is best read to exclude oral-only drugs for
which there is no equivalent, non-oral agent, drug, or biological.


                                                   25
      Case 1:24-cv-02095-BAH            Document 14         Filed 09/19/24         Page 36 of 56




H.R. 3200, 11th Cong. § 1232 (2009), America’s Affordable Health Choices Act of 2009

(emphasis added). But Congress chose not to adopt this statutory language, which would have

adopted CMS’s preferred construction of clause (iii) and extended that definition to “oral drugs

that are not the oral equivalent of an intravenous drug.” The fact that Congress considered but did

not adopt a proposal to specifically include oral-only drugs in the ESRD PPS further underscores

that CMS’s contrary construction is inconsistent with MIPPA’s language. See, e.g., Gen. Motors

Corp. v. Ruckelshaus, 742 F.2d 1561, 1578 (D.C. Cir. 1984) (“Where Congress has so explicitly

and deliberately considered, and then rejected, a more expansive requirement than that ultimately

enacted, it is not for the agency to exceed the statutory limits under the guise of ‘interpretation.’”).

        Clause (iv). Perhaps recognizing the tenuous nature of its interpretation of clause (iii),

CMS also suggested that “if oral-only drugs are not considered to fall within clause (iii) of the

statutory definition . . . [it] believe[d] that such drugs would appropriately fall under clause (iv).”

75 Fed. Reg. at 49,040; see also 74 Fed. Reg. at 49,928 (asserting the inclusion of oral-only drugs

is “supportable under clause (iv)”). Clause (iv) directs CMS to include in the bundle “diagnostic

laboratory tests and other items and services not described in clause (i) that are furnished to

individuals for the treatment of end stage renal disease.” 42 U.S.C. § 1395rr(b)(14)(B)(iv). In its

2011 rulemaking, CMS suggested clause (iv) “can be interpreted as a residual or catch all category

for drugs which do not fall under the scope of those renal dialysis services identified in clauses (ii)

and (iii),” including oral-only drugs that “do not fall under the scope of those specified renal

dialysis services identified in clauses (ii) and (iii).” 75 Fed. Reg. at 49,039.

        CMS’s “catch-all” reading of clause (iv) is impermissible because it negates Congress’s

choice to enumerate specific categories of drugs as falling within the definition of “renal dialysis

services.” Congress chose to reference particular “oral” or “oral equivalent” forms of “such” drugs




                                                  26
      Case 1:24-cv-02095-BAH            Document 14         Filed 09/19/24      Page 37 of 56




or agents—which means that these are the only oral drugs covered. See, e.g., A. Scalia & B.

Garner, Reading Law: The Interpretation of Legal Texts 107 (2012) (“Negative-Implication

Canon[:] The expression of one thing implies the exclusion of others.”); see also Jennings v.

Rodriguez, 583 U.S. 281, 300 (2018) (same). If Congress intended all drugs (or even all oral

drugs) furnished to individuals for the treatment of ESRD to qualify as “renal dialysis services,”

there would have been no need to more narrowly define other drugs, biologicals, and oral

equivalent forms of such drugs and biologicals in clauses (ii) and (iii).

       Put another way, if clause (iv) was interpreted, as CMS has suggested, to encompass all

drugs for the treatment of ESRD not incorporated by clause (i), it would render clauses (ii) and

(iii) superfluous: Any drug, biological, or oral equivalent form that falls within clauses (ii) and

(iii) necessarily would qualify as “items and services not described in clause (i) that are furnished

to individuals for the treatment of end stage renal disease.” 42 U.S.C. § 1395rr(b)(14)(B)(iv); see

also Air Transp. Ass’n of Am., Inc. v. United States Dep’t of Agric., 37 F.4th 667, 672 (D.C. Cir.

2022) (“It is a familiar canon of statutory construction that, if possible, we are to construe a statute

so as to give effect to every clause and word.”) (citations omitted); Obduskey v. McCarthy &

Holthus LLP, 586 U.S. 466, 476 (2019) (courts “presum[e]” that laws do not contain “surplusage”).

       CMS appeared to recognize, in response to comments, that it would “violate[] a principle

of statutory construction [to] mak[e] clauses (ii) and (iii) otherwise redundant.” 75 Fed. Reg. at

49,039. To that end, it conceded that clause (iv) “does not mean all drugs currently available to

Medicare beneficiaries for the treatment of ESRD.” Id. But it believed that clause (iv) “can be

interpreted as a residual or catch all category for drugs which do not fall under the scope of those

specified renal dialysis services identified in clauses (ii) and (iii).” Id. That ignores clause (iv)’s

actual language, which speaks to “laboratory tests and other items and services not described in




                                                  27
      Case 1:24-cv-02095-BAH            Document 14         Filed 09/19/24      Page 38 of 56




clause (i),” not to drugs which are not described in clause (ii) and clause (iii). Id. at 49,040. Clause

(iv) therefore cannot be interpreted to encompass all drugs not encompassed in clause (i) (including

oral-only drugs) without rendering clause (ii) and (iii) utterly redundant and superfluous.

        In Fischer v. United States, 144 S. Ct. 2176 (2024), the Supreme Court recently confronted

a similar “surplusage problem.” Id. at 2188. At issue were two subsections—one that described

“particular types” of conduct in “specific terms,” with another “broader” provision going beyond

the first. Id. at 2183; see 18 U.S.C. § 1512(c)(1)-(2). The question was whether the second

subsection was best read as linked with (and limited by) the first subsection. See Fischer, 144 S.

Ct. at 2183. The Court’s answer was “yes.” It found that though the latter, “all-encompassing

interpretation may be literally permissible, it defie[d] the most plausible understanding of why [the

relevant subsections] are conjoined, and it render[ed] an unnerving amount of statutory text mere

surplusage.” Id. at 2190 (emphasis added). After all, because “Congress would not go to the

trouble of spelling out the list in (c)(1) if a neighboring term swallowed it up, the most sensible

inference is that the scope of (c)(2) is defined by reference to (c)(1).” Id. at 2185.

        The question, therefore, is not whether clause (iv)’s reference to “other items and services”

could literally be read to encompass drugs, a construction that would override the more focused,

limited categories of drugs that Congress saw fit to include in clauses (ii) and (iii). 42 U.S.C.

§ 1395rr(b)(14)(B)(iv). Instead, such a “general phrase can be given a more focused meaning by

the terms linked to it. That principle ensures—regardless of how complicated a sentence might

appear—that none of its specific parts are made redundant by a clause literally broad enough to

include them.” Fischer, 144 S. Ct. at 2184.

        So too here. If CMS’s reading is right, “there would have been scant reason for Congress

to provide any specific examples at all” in clauses (ii) and (iii). Id. at 2185. The “sweep” of clause




                                                  28
      Case 1:24-cv-02095-BAH            Document 14        Filed 09/19/24       Page 39 of 56




(iv) “would consume” clauses (ii) and (iii), “leaving th[ose] narrower provision[s] with no work

to do.” Id. Instead, clauses (ii) and (iii) would be an “elaborate pumpfake,” id.—two clauses

specifically referencing oral forms of particular drugs would be immediately superseded in the

very next clause (in the very same sentence) by a category that covers all drugs, including all oral-

only ones.    But construing clause (iv) that way gets standard statutory analysis “‘exactly

backwards,’ eliminating specific terms because of broad language that follows them, rather than

limiting the broad language in light of narrower terms that precede it.” Id. (quoting Bissonnette v.

LePage Bakeries Park St., LLC, 601 U.S. 246, 252, 255 (2024)).

       CMS’s expansive alternative reading of clause (iv) also contradicts the canon of ejusdem

generis, the principle that “‘a general or collective term’ at the end of a list of specific items’ is

typically ‘controlled and defined by reference to the specific classes . . . that precede it.” Fischer,

144 S.Ct. at 2184. Here, Congress signaled the narrower scope of clause (iv) by addressing it to

cover “diagnostic laboratory tests and other items and services not [covered by] clause (i).” 42

U.S.C. § 1395rr(b)(14)(B) (emphasis added). Particularly in light of a statutory scheme in which

clause (ii) and (iii) carefully specify only certain categories of drugs, clause (iv) is best read to

encompass “objects similar in nature to those objects enumerated by the preceding specific words.”

Circuit City Stores, Inc. v. Adams, 532 U.S. 105, 114-15 (2001) (quoting 2A N. Singer, Sutherland

on Statutes and Statutory Construction § 47.17 (1991)); see also 75 Fed. Reg. at 49,064 (indicating

that “other items and services” could be read more narrowly to mean “[o]ther items and services

separately billed by ESRD facilities that are used in conjunction with injectable medications or

laboratory tests, such as blood products, syringes, and other dialysis supplies that are billed on

Medicare outpatient institutional claims”) (emphasis added). Instead embracing a broad reading

of clause (iv) in the event that its principal construction of clause (iii) was found lacking, CMS




                                                  29
      Case 1:24-cv-02095-BAH           Document 14        Filed 09/19/24      Page 40 of 56




ignored the “common sense intuition that Congress would not ordinarily introduce a general term

that renders meaningless the specific text that accompanies it.” Fischer, 144 S. Ct. at 2184. This

Court should not endorse that reading, which CMS itself recognized would render its statutory

definition “overlapping or redundant.” 75 Fed. Reg. at 49,040.

       For all of these reasons, CMS’s regulations purporting to include oral-only drugs in the

ESRD PPS bundle, contrary to Congress’s chosen statutory text, are contrary to law and in excess

of statutory authority. 42 C.F.R. §§ 413.171, 413.174. Because there is no dispute phosphate-

lowering therapies, including XPHOZAH, are oral-only drugs, Williams Decl. ¶¶ 33-35; Ex. 8 at

1, CMS’s decision to cease payment for them under Medicare Part D and treat those drugs as part

of the ESRD PPS bundle starting on January 1, 2025, pursuant to CMS’s regulations (and the

XPHOZAH Decision) is likewise contrary to law and in excess of statutory authority.

       B.      At Minimum, XPHOZAH Does Not Qualify As A Renal Dialysis Service

       If the Court agrees with Plaintiffs on the preceding question of statutory interpretation, the

Court’s inquiry is at an end: Oral-only drugs would not qualify as “renal dialysis services” eligible

for inclusion in the ESRD PPS bundle, notwithstanding CMS’s contrary regulations.                But

XPHOZAH also falls outside the ESRD PPS bundle for two additional reasons. First, XPHOZAH

is not a drug “furnished to individuals for the treatment of end stage renal disease.” 42 U.S.C.

§ 1395rr(b)(14)(B)(iii)-(iv); 42 C.F.R. § 413.171(3)-(4). Second, XPHOZAH is “not essential for

the delivery of maintenance dialysis.” 42 C.F.R. § 413.171(5). For either or both of those reasons,

CMS’s plan to place XPHOZAH into the ESRD PPS bundle and cease Medicare Part D

reimbursement starting January 1, 2025 is unlawful.

                1.     XPHOZAH Is Not A Drug Furnished For The Treatment Of End Stage
                       Renal Disease

       To begin with, XPHOZAH falls outside the bundle because it treats hyperphosphatemia,


                                                 30
      Case 1:24-cv-02095-BAH           Document 14          Filed 09/19/24   Page 41 of 56




not end stage renal disease. As relevant here, clauses (iii) and (iv) of the operative statute, like

clauses (iii) and (iv) of CMS’s implementing regulation, impose the same, overlapping

requirement: For a drug to qualify as a “renal dialysis service,” the drug must be “furnished to

individuals for the treatment of end stage renal disease.” 42 C.F.R. § 413.171(3)-(4); 42 U.S.C.

§ 1395rr(b)(14)(B)(iii)-(iv). But XPHOZAH is not a drug “furnished to individuals for the

treatment of end stage renal disease.” Id. While XPHOZAH is available to patients with chronic

kidney disease on dialysis, XPHOZAH itself is indicated only for treating high phosphate levels

(i.e., hyperphosphatemia). Williams Decl. ¶ 32. Specifically, according to its FDA-approved

label, “XPHOZAH is indicated to reduce serum phosphorus in adults with chronic kidney disease,”

and the key functionality of XPHOZAH is to “manage serum phosphorus levels” “as add-on

therapy in patients who have an inadequate response to phosphate binders or who are intolerant of

any dose of phosphate binder therapy.” Ex. 1, XPHOZAH Label at 1-2. As a result, XPHOZAH

does not meet the statutory or regulatory requirements for inclusion in the bundle.

       As explained, supra at 15, hyperphosphatemia is a condition that occurs in many patients

with ESRD. But individuals may have ESRD without hyperphosphatemia, just as individuals may

have hyperphosphatemia without ESRD. See supra at 15. And although XPHOZAH is taken

before meals to reduce the absorption of phosphate from the gut into the bloodstream, it does not

treat the patient’s end stage renal disease. Supra at 16.

       CMS recognizes that many other oral medications that treat causes of, complications from,

or comorbidities of ESRD are not “renal dialysis services.” For instance, 84 percent of ESRD

patients on dialysis also suffer from hypertension26—a greater number than the percentage of


26
   See, e.g., Williams Decl. ¶ 13; Adarsh Raja et al., Temporal trends in hypertension related end
stage renal disease mortality rates, 3 Frontiers in Nephrology (Jan. 15, 2024)



                                                 31
      Case 1:24-cv-02095-BAH            Document 14        Filed 09/19/24       Page 42 of 56




ESRD patients with hyperphosphatemia.27             But CMS does not classify drugs treating

hypertension—like beta blockers—as “renal dialysis services.” See Ex. 2 at 14; see also 75 Fed

Reg. at 49,039.        And although ESRD can cause complications ranging from diabetes and

hypertension, to stroke, hepatitis, and cardiovascular disease (“CVD”),28 CMS does not consider

drugs that treat these complications to be drugs “for the treatment of end stage renal disease” either.

See 75 Fed Reg. at 49,047. The drugs used to treat common comorbidities of ESRD, like diabetes,

hypertension, and CVD, are covered by Medicare Part D. See id.; Williams Decl. ¶ 16.

       CMS’s decision to consider XPHOZAH as for the treatment of ESRD is at odds with

CMS’s statute, regulation, and Federal Register notices.          To begin, CMS’s interpretation,

promulgated through the Federal Register and the XPHOZAH Decision, appears not to ask

whether a drug is “for the treatment of end stage renal disease,” 42 C.F.R. § 413.171(3)-(4), but

rather whether a drug is “ESRD-related.” 75 Fed. Reg. at 49,039; see also Ex. 8 (XPHOZAH

Decision) (discussing whether the drug treats a “condition associated with ESRD”).                That

impermissibly expands the statutory and regulatory definition of “renal dialysis services” by

sidestepping whether a drug is for “the treatment of end stage renal disease.” 42 C.F.R. §

413.171(3)-(4); 42 U.S.C. § 1395rr(b)(14)(B)(iii)-(iv). That is contrary to law and in excess of

statutory authority.

         Even under CMS’s interpretation, CMS has expressly stated that “[d]rugs and biologicals

that are generally not ESRD-related (for example drugs and biologicals used to treat diabetes,


https://www.ncbi.nlm.nih.gov/pmc/articles/PMC10823365 (hypertension occurs 84.1% of stage
4-5 CKD patients).
27
  See, e.g., Williams Decl. ¶ 18 (Hyperphosphatemia occurs in approximately 80% of patients
with ESRD on maintenance dialysis).
28
     See Williams Decl. ¶ 14; Penn Medicine, End-Stage Kidney Disease,
https://www.pennmedicine.org/for-patients-and-visitors/patient-information/conditions-treated-a-
to-z/end-stage-kidney-disease

                                                  32
      Case 1:24-cv-02095-BAH           Document 14         Filed 09/19/24      Page 43 of 56




cardiac conditions, and hypertension), would not be renal dialysis services and would be excluded

from the ESRD bundled base rate.” Id. at 49,047. In order to gauge which drugs should qualify,

CMS explained:

               We believe that categorizing drugs and biologicals on the basis of
               drug action would allow us to determine which categories (and
               therefore, the drugs and biologicals within the categories) would be
               ESRD-related. We evaluated each drug and biological to identify its
               category by indication or mode of action. We then analyzed the
               categories to determine those that would be expected to be utilized
               for ESRD-related conditions in a dialysis unit (and therefore would
               be a renal dialysis service).

Id. (emphasis added). But XPHOZAH is not “utilized for ESRD-related conditions in a dialysis

unit.” Id. Rather, XPHOZAH’s instructions specifically counsel patients not to take XPHOZAH

before or during a dialysis session. See Ex. 2 at 11, 13; Williams Decl. ¶ 37; see also Ex. 1

(XPHOZAH Label) at 2 (“Recommended dosage: 30 mg orally twice daily before the morning

and evening meals . . . Instruct patients not to take right before hemodialysis session, and instead

take right before the next meal following dialysis”). As such, XPHOZAH is not administered by

dialysis providers, nor is it utilized within a dialysis unit. Id. Its label makes clear it should not

be so utilized. Id. XPHOZAH should therefore, per CMS’s own prior statements, not be included

in the ESRD PPS bundle. In the XPHOZAH Decision, CMS, again, has simply disregarded its

own statements purporting to define “renal dialysis services.” Previously, CMS appeared to

recognize (in the Federal Register, no less) that “renal dialysis services” are limited to treatments

utilized “in a dialysis unit.” 75 Fed. Reg. at 49,047. Now, CMS has decided to treat as a “renal

dialysis service” XPHOZAH, even though it is not utilized in a dialysis unit as part of renal

dialysis. See Ex. 8, XPHOZAH Decision at 1. (Indeed, the XPHOZAH Decision does not even

conclude that the drug is used in a dialysis unit. Id.). That is impermissible.




                                                 33
      Case 1:24-cv-02095-BAH           Document 14        Filed 09/19/24      Page 44 of 56




       On top of all of that, in order to change position from prior agency guidance, an agency

must “display awareness that it is changing position” and provide a “reasoned explanation” for its

action; it must not “depart from a prior policy sub silentio or simply disregard rules that are still

on the books;” and it must show “there are good reasons for the new policy.” FCC v. Fox

Television Stations, Inc., 556 U.S. 502, 515 (2009); Lone Mountain Processing, Inc. v. Sec’y of

Lab., 709 F.3d 1161, 1164 (D.C. Cir. 2013) (similar). Further, a “more detailed justification” for

the change is required when an agency’s “prior policy has engendered serious reliance interests

that must be taken into account.” Fox, 556 U.S. at 515. And an “[u]nexplained inconsistency” in

agency policy is “a reason for holding an interpretation to be an arbitrary and capricious change

from agency practice.” Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221–22 (2016). CMS

did not comply with any of those requirements in its XPHOZAH Decision. CMS failed to admit

that it was changing position, much less justify its reversal. See generally Ex. 8.

       Finally, CMS’s inclusion of XPHOZAH also runs afoul of the administrative law principle

that agencies must treat like cases alike. See Grayscale Invs., LLC v. SEC, 82 F.4th 1239, 1242

(D.C. Cir. 2023) (“It is a fundamental principle of administrative law that agencies must treat like

cases alike.”); Westar Energy, Inc. v. FERC, 473 F.3d 1239, 1241 (D.C. Cir. 2007) (same).

Hypertension is the second leading cause of end-stage renal disease in the United States and

present in up to 90% of ESRD patients (diabetes is the leading cause).29 Yet, despite that

relationship, CMS has determined that oral-only “drugs and biologicals used to treat diabetes,




29
  See, e.g., Peter N. Van Buren & Jula K. Inrig, Hypertension and hemodialysis: pathophysiology
and outcomes in adult and pediatric populations, Pediatic Nephrology (Mar. 2012),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3204338/; CDC, Kidney Failure and Diabetes
(May      15,      2024),    https://www.cdc.gov/diabetes/data-research/research/kidney-failure-
diabetes.html#:~:text=Since%20the%20main%20causes%20of,are%20successful%20in%20prev
enting%20ESKD; Williams Decl. ¶ 12


                                                 34
      Case 1:24-cv-02095-BAH            Document 14        Filed 09/19/24      Page 45 of 56




cardiac conditions and hypertension”—all of which are administered outside a dialysis unit—

should not be treated as “renal dialysis services.” 75 Fed. Reg. at 49,047 (emphasis added); supra

at 31-32. CMS has not provided any reasoned explanation for treating XPHOZAH as a renal

dialysis service when CMS does not treat similarly situated drugs in the same way.

               2.      XPHOZAH Is Not Essential For The Treatment Of Maintenance
                       Dialysis

       Even more obviously, XPHOZAH should be excluded from the bundle because CMS has

made clear that “services that are not essential for the delivery of maintenance dialysis” should be

excluded from the definition of “renal dialysis services.” 42 C.F.R. § 413.171(5).30 XPHOZAH

is not even administered during dialysis, let alone “essential for the delivery of maintenance

dialysis.” Id. CMS should therefore have excluded it from the scope of the bundled payment.

       It is a fundamental principle of administrative law that “an agency is bound by its own

regulations.” Nat’l Env’t Dev. Ass’n’s Clean Air Project v. EPA, 752 F.3d 999, 1009 (D.C. Cir.

2014); see also Scan Health Plan v. HHS, No. 1:23-cv-03910, 2024 WL 2815789, at *4 (D.D.C.

June 3, 2024) (same). Here, CMS’s regulation is unambiguous and unequivocal: drugs that are

not “essential for the delivery of maintenance dialysis” are excluded from the regulatory definition

of renal dialysis services. 42 C.F.R. § 413.171(5). “‘Essential’ means ‘[a]bsolutely necessary’ or

‘indispensably requisite.’” Grange Mut. Cas. Co. v. Woodward, 861 F.3d 1224, 1232 (11th Cir.

2017) (citing Essential, Oxford English Dictionary); see also Ctr. for Biological Diversity v. U.S.

Fish & Wildlife Serv., 67 F.4th 1027, 1036-37 (9th Cir. 2023) (“[T]he ordinary meaning of

‘essential’ . . . refers to something that is indispensable or necessary,” not merely “beneficial”).



30
   CMS considers “services” to include drugs. See 75 Fed. Reg. at 49,030 (“Services means
medical care or services and items, such as medical diagnosis and treatment, drugs and
biologicals.” (quoting 42 C.F.R. § 400.202)).


                                                 35
      Case 1:24-cv-02095-BAH          Document 14        Filed 09/19/24     Page 46 of 56




       XPHOZAH is not “absolutely necessary” or “indispensably requisite” for “the delivery of

maintenance dialysis.”    XPHOZAH is not even indicated for use during the delivery of

maintenance dialysis. See Ex. 1, XPHOZAH Label. Rather, patients are directed not to take

XPHOZAH prior to the delivery of maintenance dialysis. Id. That is because XPHOZAH must

be taken just prior to a meal, and meals are not permitted during a dialysis session. Id.; Williams

Decl. ¶ 37. And XPHOZAH has never been administered or distributed by dialysis facilities or in

connection with the delivery of dialysis services. Williams Decl. ¶ 38. (Among other reasons,

XPHOZAH’s side effects could lead to dehydration and low sodium levels, which are dangerous

during dialysis. See Ex. 1 at 2.). To say XPHOZAH is “essential for the delivery of maintenance

dialysis” would deprive those words of any meaning.

       Although XPHOZAH offers a critically important tool for nephrologists to the manage

phosphate levels of ESRD patients, it would go too far to suggest it is “essential for the delivery

of maintenance dialysis.” XPHOZAH is only approved as a second-line treatment for reduction

of serum phosphorus in those who are not sufficiently managed or are intolerant of phosphate

binders. Ex. 1, XPHOZAH Label at 1 (“XPHOZAH is indicated to reduce serum phosphorus in

adults with chronic kidney disease (CKD) on dialysis as add-on therapy in patients who have an

inadequate response to phosphate binders or who are intolerant of any dose of phosphate binder

therapy.”) (emphasis added). But (i) not all ESRD patients have hyperphosphatemia; (ii) some of

those who do have hyperphosphatemia will be able to manage their serum phosphorus through

dietary intervention and/or phosphate binders; (iii) only some fraction of the remaining population

will use XPHOZAH; and (iv) even those who do take XPHOZAH will not take the drug in a

dialysis unit, or during the delivery of dialysis services. Supra at 15-17. That is far afield from

being “essential for the delivery of maintenance dialysis.” 42 C.F.R. § 413.171(5).




                                                36
      Case 1:24-cv-02095-BAH            Document 14         Filed 09/19/24      Page 47 of 56




        For the foregoing reasons, CMS’s XPHOZAH Decision sweeping XPHOZAH into the

ESRD PPS bundle is arbitrary, capricious, contrary to law, and in excess of statutory authority.

II.     THE REMAINING EQUITABLE FACTORS WEIGH STRONGLY IN FAVOR OF
        INJUNCTIVE RELIEF

        Plaintiffs satisfy the three remaining equitable factors: Plaintiffs are “likely to suffer

irreparable harm” in the absence of preliminary relief; “the balance of equities tips in [their] favor”;

and “an injunction is in the public interest.” Winter, 555 U.S. at 20; Archdiocese of Wash. v. Wash.

Metro. Area Transit Auth., 897 F.3d 314, 321 (D.C. Cir. 2018). Here, all of these factors favor

preliminary injunctive relief enjoining CMS from moving oral-only drugs, including XPHOZAH,

into the ESRD PPS bundle, prior to CMS doing so effective January 1, 2025.

        A. Plaintiffs Will Suffer Irreparable Harm Absent Judicial Relief

        Here, CMS’s decision to sweep oral-only drugs, including XPHOZAH, into the ESRD PPS

bundle will cause Plaintiffs irreparable harm beginning on January 1, 2025—by harming the

patients whom Plaintiffs represent and frustrating utilization of Ardelyx’s novel drug.

        The improper placement of oral-only drugs into the ESRD PPS bundle will materially

diminish ESRD patients’ access to essential therapies and precipitate worse health outcomes.

Oral-only drugs, including XPHOZAH, are currently covered by Medicare Part D, which provides

prescription drug coverage for self-administered drugs. Compl. ¶ 171; Williams Decl. ¶¶ 49-50.

Under Medicare Part D, physicians prescribe the prescription drugs that they determine best serve

their patients; the patient’s Medicare Part D plan covers the cost of that prescription, subject to any

deductible or coinsurance requirements; and the government compensates pharmacies for

dispensing Part D drugs on a fee-for-service basis. See Clynes Decl. ¶ 26. For oral-only drugs

like XPHOZAH, dialysis facilities currently play no role in treatment decisions, do not administer

the drugs, and receive no remuneration. See Clynes Decl. ¶¶ 26-28. And because Medicare Part



                                                  37
      Case 1:24-cv-02095-BAH            Document 14         Filed 09/19/24      Page 48 of 56




D plans compensate pharmacies based on the particular kind and amount of drugs they dispense,

they are not a barrier to facilitating patient access to innovative, effective treatments. See Clynes

Decl. ¶¶ 22, 34; Williams Decl. ¶ 79.

        As numerous commentators from across the kidney-care spectrum have repeatedly

explained, placing oral-only drugs into the ESRD PPS bundle will disrupt this status quo, diminish

access to critical oral-only treatments, degrade health outcomes, alter the critical decision making

relationship between patients and their physicians, and discourage innovation. See Clynes Decl.

¶¶ 22-25, 29, 34-35; Williams Decl. ¶¶ 69, 74, 76-79, 81. CMS has admittedly failed to increase

the amount of its bundled payment in keeping with actual increases in the cost of providing

dialysis. See Williams Decl. ¶¶ 66-67; Clynes Decl. ¶¶ 18-20. As a result, the Medicare Payment

Advisory Commission estimated in 2023 that dialysis facilities had negative margins for Medicare

patients, and anticipated no better than a 0 percent margin for those patients in 2024.31 Making

dialysis facilities financially responsible for still more drugs that were previously outside the

bundled payment system will exacerbate financial pressure on dialysis facilities—forcing them to

bear financial responsibility for purchasing and dispensing new drugs despite the inadequacy of

the existing bundled payment to cover existing levels of care. See Clynes Decl. ¶¶ 19-24; Williams

Decl. ¶¶ 66-68, 72, 76.

        Because CMS effectively pays the same amount for each dialysis treatment, regardless of

the actual cost to dialysis providers of treating a particular patient, dialysis providers are penalized

financially for treating patients using novel drugs for which they are not fully reimbursed. See

Williams Decl. ¶ 74. CMS itself has acknowledged that this could result in “underutilization” of


31
  See Medicare Payment Advisory Comm’n, 2023 Report to the Congress – Medicare Payment
Policy,        at       194      (Mar.       2023),         https://www.medpac.gov/wp-
content/uploads/2023/03/Mar23_MedPAC_Report_To_Congress_v2_SEC.pdf


                                                  38
      Case 1:24-cv-02095-BAH            Document 14         Filed 09/19/24      Page 49 of 56




novel therapies. 75 Fed. Reg. at 49,041. Although CMS makes available certain temporary

additional funds to cover certain new drugs upon their entry to the bundle,32 the expiring nature of

such payments discourages dialysis facilities from promoting uptake of such treatments. Clynes

Decl. ¶¶ 21-22. For instance, the bipartisan Kidney and Health Care Innovation Caucus recently

warned that under CMS’s approach, CMS would increase its bundled payment by only nine cents

following the expiry of a novel drug’s TDAPA period—an amount dwarfed by the cost to the

provider of providing that treatment.33 As the Caucus warned, “such a low add-on payment, paired

with low or negative Medicare margins, may not support access to new drugs.” Id.

       Absent court action before January 1, 2025, CMS’s plan to cease payment under Medicare

Part D for oral-only drugs, and instead incorporate reimbursement for oral-only drugs into its

bundled payment, will result in the development of protocols by the dialysis organizations severely

restricting access to oral-only drugs—particularly novel ones—to the immediate detriment of

patients. Williams Decl. ¶¶ 69, 74, 78-81; Clynes Decl. ¶¶ 22, 24, 26-28, 34. For instance, on

January 1, 2025, patients who have always obtained their phosphate lowering medication

prescribed by their physicians from their local pharmacy will be turned away and told that they

must now switch to the phosphate lowering medication being provided by their dialysis

organization. See Clynes Decl. ¶¶ 22, 24, 26-28, 34. Physicians who have over the course of

treatment of their patients identified the best therapy that is tolerated by and effective for each

individual patient will no longer be able to obtain that therapy for their patient. See id. This limited



32
   During this period, dialysis facilities receive Medicare reimbursement for new drugs through
the Transitional Drug Add-on Payment (TDAPA), a CMS program used to transition new drugs
into the ESRD PPS bundled payment. See 42 C.F.R. § 413.234.
33
  See Compl. ¶ 11; Congressional Kidney and Health Care Innovation Caucuses, Letter to
Chiquita     Brooks-LaSure    (Oct.   2,     2023),      https://kidneycarepartners.org/wp-
content/uploads/2023/10/CY24-ESRD-Innovation-Letter-Final.pdf.

                                                  39
         Case 1:24-cv-02095-BAH        Document 14         Filed 09/19/24      Page 50 of 56




and restricted access to treatment, controlled by dialysis centers, will frustrate individualized care

for patients and discourage the development and adoption of innovative prescription drug therapies

for ESRD patients. Id.

          Real-world experience confirms that patients will experience these harms absent urgent

injunctive relief. In 2017, FDA approved Parsabiv (etelcalcetide), an intravenous calcimimetic (a

drug that increases the sensitivity of the body to calcium) that offered the first new treatment for

secondary hyperparathyroidism in ESRD patients in more than a decade.34 In 2018, 2019, and

2020—during which dialysis facilities received additional reimbursement for Parsabiv through the

TDAPA program—Parsabiv was utilized by approximately 7.1%, 10.4%, and 9.7% of dialysis

patients, respectively.35 Williams Decl. ¶ 75. After the temporary TDAPA period ended, Parsabiv

was moved into the ESRD PPS bundle, with no additional reimbursement available to ESRD

facilities that administered this drug beyond the base bundled payment rate.36 Utilization promptly

and precipitously dropped to just about 3% in 2021, and to less than 1% in 2023.37 Williams Decl.

¶ 75. Approximately one third (32.3%) of ESRD patients used a calcimimetic in 2021.38 After

Parsabiv was added to the ESRD PPS bundle, most patients were funneled to use Sensipar, an


34
  Secondary hyperparathyroidism is a condition in which too much calcium is produced in the
body, and is a common comorbidity with ESRD. See Nat’l Kidney Found., Secondary
Hyperparathyroidism,         https://www.kidney.org/atoz/content/secondary-hyperparathyroidism.
Secondary hyperparathyroidism is treated with calcimimetics, novel drugs which increase the
sensitivity of the parathyroid gland to calcium which has the effect of lowering calcium levels in
the body.
35
   See U.S. Renal Data Sys., 2023 Annual Report ch. 3, Figure 3.14b, https://usrds-
adr.niddk.nih.gov/2023/end-stage-renal-disease/3-clinical-indicators-and-preventive-care.
36
   See Parsabiv, Understanding ESRD Reimbursement To Enhance Planning For Patient Care,
https://www.parsabivhcp.com/reimbursement (“Reimbursement for Parsabiv®, and other dialysis
costs, is adjusted annually by a market basket increase to the ESRD bundle rate”).
37
   See U.S. Renal Data Sys., 2023 Annual Report ch. 3, Figure 3.14b, https://usrds-
adr.niddk.nih.gov/2023/end-stage-renal-disease/3-clinical-indicators-and-preventive-care.
38
     See id.


                                                 40
      Case 1:24-cv-02095-BAH           Document 14        Filed 09/19/24      Page 51 of 56




older and less effective, albeit cheaper, drug relative to Parsabiv. See id.; Williams Decl. ¶ 75.39

As a result, patient outcomes have declined. From July 2020 to July 2021, after Parsabiv entered

the ESRD PPS bundle, the prevalence of parathyroid levels above the threshold for

hyperparathyroidism among ESRD patients who discontinued Parsabiv increased from 28% to

43% overall, and from 32% to 50% among African Americans.40

       Similarly, other manufacturers have ceased development of innovative therapies because

of a drug’s likely placement into the bundle. For example, Cara Therapeutics terminated its Phase

3 clinical program for an oral form of Korsuva, which treats pruritis (itchiness of the skin) in ESRD

patients, after the injectable form of the same drug was moved into the ESRD PPS bundle.41

Williams Decl. ¶ 80. Cara Therapeutics explained in an SEC filing that “[t]he unfavorable CMS

reimbursement codified in the final CY 2024 rule [by including the drug in the bundle] has resulted

in a lack of sequential revenues growth for KORSUVA injection since its launch . . . . [W]e expect

no meaningful revenue contribution from KORSUVA injection following the TDAPA period

expiration.”42 The same year, Cara Therapeutics decided to focus its oral Korsuva trials on a




39
  See also Carol Moore et al., Change in Payment Method and the Use of Etelcalcetide and PTH
Values Among Dialysis Patients in Two Dialysis Organizations, Am. Soc’y of Nephrology (Poster
FR-PO535) (Nov. 4, 2022), https://www.asn-online.org/education/kidneyweek/2022/program-
abstract.aspx?controlId=3768383.
40
   Compl. ¶ 180; See Angelo Karaboyas et al., Calcimimetic Reimbursement Changes in 2021:
Impact of Etelcalcetide Discontinuation on Parathyroid Hormone (PTH) Levels in US
Hemodialysis Patients, American Society of Nephrology (Poster No. TH-PO149) (Nov. 2023),
(https://www.asn-online.org/education/kidneyweek/2023/program-
abstract.aspx?controlId=3931328).
41
     See Cara Therapeutics, Inc., Q. Rep. (Form 10-Q) 33 (Mar. 31,                            2024),
https://www.sec.gov/ix?doc=/Archives/edgar/data/1346830/000155837024007964/cara-
20240331x10q.htm.
42
   See id.


                                                 41
      Case 1:24-cv-02095-BAH           Document 14        Filed 09/19/24      Page 52 of 56




different therapeutic indication with greater “commercial potential.”43

       CMS’s placement of oral-only drugs into the bundle will therefore reduce patient access to

oral-only drugs in the short term, and discourage manufacturers from developing innovative drugs

going forward. Williams Decl. ¶¶ 69-81; Clynes Decl. ¶¶ 22-34; Puckrein Decl. ¶¶ 21-35. Because

access to such drugs is critical for ESRD patients, CMS’s plan to add oral only drugs, including

XPHOZAH, into the bundle will seriously and irreparably harm ESRD patients. Williams Decl.

¶ 21, 40, 77 (explaining that failure to manage hyperphosphatemia can prevent patients from

obtaining a place on the kidney transplant list); Wilson v. Grp. Hospitalization & Med. Servs., Inc.,

791 F. Supp. 309, 314 (D.D.C. 1992) (finding irreparable harm when “plaintiff's health and future

remain[ed] in serious doubt” because an insurance company refused to pay for treatments); Tex.

Children’s Hosp. v. Burwell, 76 F. Supp. 3d 224, 243 (D.D.C. 2014) (measuring irreparable harm

for a non-profit children’s hospital in terms of the reduced services to children); Ass’n of Cmty.

Cancer Ctrs. v. Azar, 509 F. Supp. 3d 482, 489, 500 (D. Md. 2020) (noting irreparable harm likely

to harm befall patients where rule would create “great risks for patients who rely on drugs covered

under Medicare”). That harm will disproportionately fall on patients from minority, rural, and

low-income backgrounds, who represent an outsized share of patients suffering from ESRD and

hyperphosphatemia. Puckrein Decl. ¶¶ 7-13, 33; Williams Decl. ¶ 52; supra at 6-7.44 Indeed,




43
    Press Release, Cara Therapeutics, Cara Therapeutics Prioritizes Late-Stage Notalgia
Paresthetica Program and Extends Cash Runway into 2026 (Jan. 22, 2024),
https://ir.caratherapeutics.com/news-releases/news-release-details/cara-therapeutics-prioritizes-
late-stage-notalgia-paresthetica.
44
  See also Orlando M. Gutierrez et al., Low Socioeconomic Status Associates With Higher Serum
Phosphate Irrespective of Race, 21 J. Am. Soc’y of Nephrology 1953 (Nov. 21, 2010),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3014009 (“Large cohort studies have shown that
hyperphosphatemia is more common and more severe in blacks than in whites, both among
patients with CKD and among individuals with normal kidney function.”).


                                                 42
      Case 1:24-cv-02095-BAH           Document 14        Filed 09/19/24      Page 53 of 56




there is widespread opposition across a broad range of kidney-care stakeholders to the placement

of oral-only drugs into the ESRD PPS Bundle. Clynes Decl. ¶ 35; Puckrein Decl. ¶¶ 36, 38.45

       Ardelyx will also be irreparably harmed absent an injunction. If CMS ceases payment for

XPHOZAH under Medicare Part D, and only provides reimbursement via the ESRD PPS Bundle,

dialysis facilities will be financially incentivized to facilitate or promote the uptake of less

expensive alternatives to XPHOZAH. Williams Decl. ¶ 77. As a result, despite the immense

unmet need for XPHOZAH among the large numbers of ESRD patients whose hyperphosphatemia

is not controlled by phosphate binders, beginning January 1, 2025, patient access to XPHOZAH

will be severely restricted. Id. That loss of market share, and related unrecoverable economic

harm, constitutes irreparable harm to Ardelyx. See, e.g., Luokung Tech. Corp. v. Dep't of Def.,

538 F. Supp. 3d 174, 192 (D.D.C. 2021); Bayer HealthCare, LLC v. FDA, 942 F. Supp. 2d 17, 26

(D.D.C. 2013); Feinerman v. Berardi, 558 F. Supp. 2d 36, 50-51 (D.D.C. 2008).

       Congress’s original intent in providing Medicare coverage to all ESRD patients was to

ensure access to needed, life-saving treatment.46 Yet by sweeping into the ESRD PPS bundled

payment drugs that Congress declined to include in the bundle, CMS will diminish access and

discourage innovation. Williams Decl. ¶¶ 69-81; Clynes Decl. ¶¶ 22-34; Puckrein Decl. ¶¶ 21-35.

For all these reasons, injunctive relief prior to January 1, 2025 is necessary to preserve the status

quo and prevent irreparable harm to Plaintiffs and the patients they serve.




45
  Among those organizations to have opposed the placement of oral-only drugs into the ESRD
PPS bundle include the American Health Care Association, the American Kidney Fund, the
American Society for Nephrology, Kidney Care Partners, the National Kidney Foundation, the
Renal Healthcare Association, and the Renal Physicians Association.
46
   See 42 U.S.C. § 1395 et seq. (providing coverage for those over the age of 65, for those with
disabilities, and those with end stage renal disease).


                                                 43
      Case 1:24-cv-02095-BAH           Document 14         Filed 09/19/24      Page 54 of 56




       B. The Balance Of The Equities And The Public Interest Also Favor Injunctive Relief

       The remaining two equitable factors—the balance of the equities and the public interest—

also weigh heavily in favor of granting preliminary injunctive relief. When, as here, a claimant

challenges unlawful agency action, these factors merge into a single inquiry. Karem v. Trump, 960

F.3d 656, 668 (D.C. Cir. 2020); Nken v. Holder, 556 U.S. 418, 435 (2009). In particular, “[a]

party’s likelihood of success on the merits ‘is a strong indicator that a preliminary injunction would

serve the public interest’ because ‘[t]here is generally no public interest in the perpetuation of

unlawful agency action.’” Shawnee Tribe v. Mnuchin, 984 F.3d 94, 102 (D.C. Cir. 2021) (quoting

League of Women Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016)). In fact, there is a public

interest “‘in having governmental agencies abide by the federal laws that govern their existence

and operations.’” Newby, 838 F.3d at 12 (citation omitted). Moreover, there is an important public

interest in “encourag[ing] the development of innovative drugs,” Collagenex Pharms. v.

Thompson, No. 03-cv-1405, 2003 WL 21697344, at *11 (D.D.C. July 22, 2003), that is undercut

by CMS’s inclusion of oral-only drugs in the bundle. Supra at 38-42.

       As shown above, CMS’s proposed inclusion of oral-only drugs generally, including

XPHOZAH, in the ESRD PPS bundle is contrary to law, and is therefore impermissible. Supra at

18-37. Sweeping such drugs into the bundle will impose added financial pressure on dialysis

facilities that will have the effect of limiting access to oral-only drugs, diminishing health

outcomes, and reducing innovation. Supra at 38-44. And those harms will be particularly visited

on minority, low-income, and rural populations who are disproportionately affected by ESRD.

Supra at 43. The public interest and equities weigh heavily against those results.




                                                 44
      Case 1:24-cv-02095-BAH          Document 14        Filed 09/19/24     Page 55 of 56




                                        CONCLUSION

       For these reasons, Plaintiffs respectfully request that the Court preliminarily enjoin

Defendants from enforcing their regulation in 42 C.F.R. §§ 413.171, 413.174(f)(6) unlawfully

including oral-only drugs within the regulatory definition of “renal dialysis services”; from

classifying XPHOZAH as a “renal dialysis service” pursuant to § 413.171; from placing oral-only

drugs, including XPHOZAH, into the ESRD PPS bundled payment system pursuant to §§ 413.171,

413.174(f)(6) effective January 1, 2025; and from ceasing reimbursement for any oral-only drug

under Medicare Part D as of that date. Alternatively, Plaintiffs respectfully request expedited

summary judgment in their favor, granting the same injunctive relief on a permanent basis.

Plaintiffs further request that the Court vacate and set aside Defendants’ regulations in 42 C.F.R.

§§ 413.171, 413.174(f)(6), to the extent they provide that oral-only drugs are “renal dialysis

services” subject to inclusion in the ESRD PPS bundle. And Plaintiffs further request that the

Court vacate and set aside Defendants’ XPHOZAH Decision.




                                                45
    Case 1:24-cv-02095-BAH   Document 14   Filed 09/19/24      Page 56 of 56




Dated: September 19, 2024            Respectfully submitted,

                                     /s/ Michael E. Bern
                                     Michael E. Bern (DC Bar No. 994791)
                                     Delia Tasky (DC Bar No. 1724285)
                                     Alexander G. Siemers (DC Bar No.
                                     90006765)
                                     Latham & Watkins LLP
                                     555 Eleventh Street, NW, Suite 1000
                                     Washington, DC 20004
                                     Tel: (202) 637-2200
                                     Fax: (202) 637-2201
                                     Email: michael.bern@lw.com
                                              delia.tasky@lw.com
                                              alex.siemers@lw.com

                                     Nicholas L. Schlossman
                                     (DC Bar No. 1029362)
                                     Latham & Watkins LLP
                                     300 Colorado Street, Suite 2400
                                     Austin, TX 78701
                                     Tel: (737) 910-7300
                                     Fax: (737) 910-7301
                                     Email: nicholas.schlossman@lw.com

                                     Attorneys for Plaintiffs Ardelyx, Inc. and
                                     American Association of Kidney Patients

                                     James E. McCollum, Jr. (DC Bar. No.
                                     398117)
                                     Amit K. Sharma (D.C. Bar No. 503604)
                                     The McCollum Firm, LLC
                                     7309 Baltimore Avenue, Suite 117
                                     College Park, MD 20740
                                     Tel: (301) 537-0661
                                     Fax: (301) 864-4351
                                     Email: jmccollum@jmlaw.net
                                               asharma@jmlaw.net

                                     Attorneys for Plaintiff National Minority
                                     Quality Forum




                                   46
